Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 1 of 69 PageID: 665




                     UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF NEW JERSEY


                                               :
UNITED STATES OF AMERICA,
                                                   Anne E. Thompson, U.S.D.J.
                                  Plaintiff,
                                                   Criminal Number 06-
                                                   18 U.S.C. § § 1341 and 2;
vs.
                                                   21 U.S.C. § § 331(k); 333(a)(2); and
                                                   352(i)(3)
ALBERT POET,

                               Defendant.




 MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT’S PRETRIAL MOTIONS




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Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 2 of 69 PageID: 666




                               TABLE OF CONTENTS


TABLE OF AUTHORITIES ……………………………………………………………. iv

PRELIMINARY STATEMENT ………………………………………………………..                                       1

FACTUAL BACKGROUND …………………………………………………………….                                         3

A.   Botulinum Neurotoxin Type A ………………………………………………….. 3

     1.     Overview of the Substance and Botulism ………………………………….. 3
     2.     Botulinum Neurotoxin Type A’s Use in Humans and
            the Genesis of “Botox” …………………………………………………….. 4

B.   Allergan, Inc. and it’s Invalid Trademark on BOTOX ………………………… 7

C.   Toxin Research International, Inc. and the Four Botulism Illnesses in Florida.. 8

     1.     Toxin Research International and It’s Fraud ……………………………….. 8
     2.     Dr. Bach McComb and the Four Botulism Cases in Florida ………………. 11
     3.     The Path to Dr. Albert Poet ………………………………………………… 12

D.   The FDA’s Investigation and Prosecution of Dr. Albert Poet …………………. 13

     1.     Investigation Leading to Indictment ……………………………………….. 13
     2.     S/A Hess’ Interviews with Witnesses and the Prejudice to the Defense …… 14
     3.     Indictment and the Government’s Pretrial Discovery ……………………… 18

E.   Summary ………………………………………………………………………….. 22

LEGAL ANALYSIS ……………………………………………………………………… 23

A.   Overview of the Charges …………………………………………………………. 23

     1.     What is Not Charged ………………………………………………………. 23
     2.     Mail Fraud ………………………………………………………………… 24
     3.     Felony Misbranding ………………………………………………………. 25

B.   POINT 1: Counts One through Thirteen Must be Dismissed
     Because the Congress has Determined that Fraud Crimes Involving Drugs
     Regulated by the FDA must be Prosecuted under the Food, Drug and
     Cosmetic Act, and the Supreme Court has Mandated that where Congress
     has Defined a Particular Crime, the Government cannot Proceed with
     Prosecution Under a Different Statute …………………………………………. 26




                                           i
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 3 of 69 PageID: 667




     1.    Congress’ Legislative Scheme and its History ……………………………. 26

           a.     The Pure Food and Drug Act of 1906 …………………………….. 26
           b.     The Food, Drug and Cosmetic Act of 1938 ……………………….. 28
           c.     Subsequent Revisions ……………………………………………… 29

     2.    United States v. Dowling and its Progeny ………………………………… 30

           a.     Dowling …………………………………………………………… 30
           b.     Subsequent Cases ………………………………………………… 32

     3.    Dowling’s Applicability to Misbranding and the Instant Case …………… 33

C.   POINT 2: The Court Must Dismiss The Indictment Because the
     Term “Botox” is Generic as a Matter of Law, and the Government
     Cannot Prove Fraud through the Use of the Generic Term …………………… 37

     1.    Trademark Law and Genericness ………………………………………….. 37

           a.     Trademark Statutes ………………………………………………… 37
           b.     A Mark can Become Generic After Registration…………………… 39

     2.    The Term Botox was Generic Before Allergan, Inc. Applied for its
           Registration ………………………………………………………………… 40

           a.     Allergan, Inc.’s Registration and Prior Generic Use……………… 40
           b.     Application to the Instant Case …………………………………… 41

     3.    The Term “Botox” has become Generic ………………………………….. 42

D.   POINT 3: The Indictment Must be Dismissed on the Grounds of
     Judicial Estoppel Because the Government Took an Inconsistent
     Position in a Prior Proceeding and Prevailed on that Position ………………… 44

E.   POINT 4: The Court Should Dismiss the Indictment without
     Prejudice Because of the FDA’s and the Government’s Due Process
     Violations with Respect to Failure to Provide an Administrative
     Hearing and Failure to Provide Exculpatory Materials ……………………….. 46

     1.    The Indictment Must be Dismissed without Prejudice for Failure to
           Provide Dr.Poet with an Administrative Hearing Required Under
           the Food, Drug and Cosmetic Act. ………………………………………… 46

     2.    The FDA has Violated Dr. Poet’s Right to Due Process and Brady by
           Intimidating Witnesses and Failing to Provide Exculpatory Information ….. 50




                                          ii
 Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 4 of 69 PageID: 668




            a.     Intimidation of Witnesses ………………………………………….. 50
            b.     The Brady Violations ……………………………………………… 52
            c.     Impact Upon this Case ……………………………………………. 55

F.    POINT 5: The Defense is Entitled to an Order Directing the FDA to
      Review all of the Evidence in all Related FDA Cases Nationwide
      Involving TRI’s BoNT/A and to Produce All Exculpatory Documents,
      including Grand Jury Transcripts and Witness Interviews in the
      Instant Case ………………………………………………………………………. 56

G.    POINT 6: The Defense is Entitled to the Grand Jury Transcripts,
      or in the Alternative, to an In-Camera Review to Determine
      whether the Government Met its Obligations ………………………………….. 57

H.    POINT 7: The Defense is Entitled to Supression of any Patient-Witness
      Testifying For the Government and Inteviewed by S/A Hess, or in the
      Alternative, Additional Deposition and Document Discovery Under
      Fed. R. Crim. P. 15 and 17 ……………………………………………………….. 57

I.    POINT 8: The Court Should Allow the Defense to Issue Subpoenas
      Under Fed. R. Crim. P. 17 for Certain Documents and Other Materials …….. 58

J.    POINT 9: The Court Should Permit Certain Depositions Under
      Fed. R. Crim. P. 15 ……………………………………………………………….. 59

K.    POINT 10: The Defendant is Entitled to a Bill of Particulars ………………… 60

L.    POINT 11: The Indictment Should be Amended to Refer to Allergan, Inc.’s
      Accurate Claimed Mark: BOTOX® Cosmetic …………………………………. 61

M.    POINT 12: The Court Should Designate this Case as a Complex Case
      Under the Speedy Trial Act to Permit the Parties to Engage in Additional
      Discovery and Investigation ……………………………………………………… 62

CONCLUSION …………………………………………………………………………… 62




                                        iii
 Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 5 of 69 PageID: 669




                                            TABLE OF AUTHORITIES

Cases

A.J. Canfield Co. v. Honickman, 808 F.2d 291, 305-06 (3rd Cir. 1986) .....................................42
Abercrombie & Fitch Co. v. Hunting World, Inc., 537 F.2d 4, 9 (2nd Cir. 1976)........................40
Am. Thermos Products Co. v. Aladdin Industries, Inc., 207 F. Supp 9 (D. Conn. 1962) ............42
American School of Magnetic Healing v. McAnnulty, 187 U.S. 94 (1902)................................35
Banks v. Dretke, 540 U.S. 668, 692 (2004) ...............................................................................59
Beem v. McKune, 317 F.3d 1175, 1185 (10th Cir. 2003) ...........................................................48
Beyer Co. v. United Drug Co., 272 F. 505, 513 (S.D.N.Y 1921) ...............................................42
Blazoski v. Cook, 346 N.J. Super. 256, 273 (App. Div. 2002) ...................................................44
Blockburger v. United States, 284 U.S. 299, 304 (1932) ...........................................................38
Brady v. Maryland, 373 U.S. 83, 87 (1963)...............................................................................57
Bridges v. Wixon, 326 U.S. 135, 152-53 (1945)........................................................................52
Delaware & Hudson Canal Co. v. Clark, 80 U.S. (13 Wall.) 311, 323, 20 L. Ed. 581 (1872) .....40
Dotterweich, 320 U.S. at 279 ....................................................................................................51
Genessee Brewing Co. v. Stroh brewing Co., 124 F.3d 137, 144 (2nd Cir. 1997) .......................42
Government of the VI v. Smith, 615 F.2d 964 (3rd Cir. 1980)....................................................56
In re Chambers Dev. Co., 148 F.3d 214, 229 (3rd Cir. 1998)......................................................48
Kent v. Benson, 945 F.2d 372 (11th Cir. 1991) .........................................................................51
Klein Becker, Inc. v. Allergan, Inc., Docket No. 2:03-cv-00514 (D. Ut. filed June 2, 2003) ......46
Liparota v. United States, 471 U.S. at 427)................................................................................38
Medinol Ltd. v. Neuro Vasx, Inc., 67 U.S.P.Q.2d 1205, 1209 (T.T.A.B. 2003) .........................43
Metro Traffic Control, Inc. v. Shadow Network, Inc., 104 F.3d 336, 340 (Fed. Cir. 1997) ........44
Moore v. Valder, 65 F.3d 189, 194 (D.C. Cir. 1996) .................................................................56
Morgan v. Ruiz, 415 U.S. 199, 235 (1974)................................................................................53
New Hampshire v. Maine, 532 U.S. 742, 750-751 (2001) .........................................................49
Park ‘n Fly v. Dollar Park and Fly, Inc., 469 U.S. 189, 194 (1985)............................................40
Park v. United States, 2006 U.S. App. LEXIS 32048, at * 18 (3rd Cir. December 29, 2006) ......48
Pilates, Inc. v. Current Concepts, Inc., 120 F. Supp.2d 286 (S.D.N.Y. 2000).............................42
Singer Mfg. Co. v. June Mfg. Co., 163 U.S. 169 (1896) ............................................................41
Sproles v. Binford, 286 U.S. 374, 393 (1932)............................................................................37
Strickler v. Greene, 527 U.S. 263, 276, 282 (1999) ...................................................................59
Tarlton v. Cumberland Co. Correctional Facility, 192 F.R.D. 165 (D. NJ. 2000).......................60
Tolchin v. The Supreme Court of the State of New Jersey, 111 F.3d 1099, 1115 (3rd Cir. 1997) 53
United States v . Prigmore, 243 F.3d 1 (1st Cir. 2001) ...............................................................51
United States v. Algon Chemicals, Inc., 879 F.2d 1154, 1159-60 (3d Cir. 1989) .......................23
United States v. Alsugair, 256 F. Supp.2d 306 (D. NJ 2003) .....................................................34
United States v. Brooks, 945 F. Supp. 830 (E.D.Pa. 1996) ........................................................33
United States v. Caceres, 440 U.S. 741 (1979) ..........................................................................52
United States v. Dixon, 132 F.3d 192, 199 (5th Cir. 1997) .........................................................57
United States v. Golding, 168 F.3d 700 (4th Cir. 1999) ..............................................................56
United States v. Gross, 961 F.2d 1097, 1103 (3rd Cir. 1992)......................................................58
United States v. Heller, 830 F.2d 150, 153-54 (11th Cir. 1987) ..................................................56
United States v. Hodge, 211 F.3d 74, 78 (3d Cir. 2000) ............................................................38


                                                                iv
 Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 6 of 69 PageID: 670




United States v. Johnson, 221 U.S. 488, 498 (1911) ..................................................................28
United States v. LaMacchia, 871 F. Supp. 535 (D. Mass. 1994) ................................................33
United States v. Morgan, 222 U.S. 274, 280 (1911)...................................................................51
United States v. Morrison, 535 F.2d 223 (3rd Cir. 1976) ............................................................56
United States v. Pelullo, 399 F.3d 197, 209 (3rd. Cir. 2005).......................................................57
United States v. Russell, 411 U.S. 423, 431-32 (1973) ..............................................................57
United States v. Twigg, 588 F.2d 373 (3rd Cir. 1978) ................................................................60
United States v. Vavages, 151 F.3d 1185, 1190-92 (9th Cir. 1998).............................................56
United States v. Voight, 89 F.3d 1050, 1064-66 (3rd Cir. 1996) .................................................60
United States v. Williams, 205 F.3d 23, 29 (2nd Cir. 2000) ........................................................56
United States v. Wiltberger, 5 Wheat. 76, 95 (1820)..................................................................32
Webb v. Texas, 409 U.S. 95, 97-98...........................................................................................56
Williams v. United States, 471 U.S. 419, 424 (1985).................................................................32
Other Authorities

21 C.F.R. §§ 7.84 – 7.87 ...........................................................................................................50
739 F.2d 1445 (9th Cir. 1984) ....................................................................................................32
FDA Policy Statement, 37 Fed. Reg. at 16503...........................................................................24
Food, Drug and Cosmetic Act of 1938, ch. 675, 52 Stat. 1040 (1938), now codified as 21 U.S.C.
   § 301 et. seq ..........................................................................................................................28
H. Rep. No. 2139, 75th Cong., 3rd Sess., at 1..............................................................................30
Pub. L. 100-293 (1988). ............................................................................................................31
Pub. L. 89-74, Sec. 7(a) (1965); Pub. L. 90-639 (1968) .............................................................30
Pub. L. 91-513 (1970)...............................................................................................................31
Pure Food and Drug Act of 1906, c. 3915, Pub. L. No. 59-384, 34 Stat. 768 (1906) (repealed
   1938) ....................................................................................................................................27
Regulation of the Practice of Medicine Under the Pure Food & Drug Laws, 33 A. of Food &
   Drug Officials Q. Bull. 3, 7 & 9 (1969) .................................................................................24
S. Rep. No 152, 75th Cong, 1st Sess., at 1...................................................................................30
Rules

Fed. R. Crim. P. 15 and 17 ........................................................................................................23
Fed. R. Crim. P. 6(e)(2)(E)(ii) ...................................................................................................62
N.J. R. Prof. C. 3.8(d) ...............................................................................................................62
Regulations

15 U.S.C. § 1051.......................................................................................................................40
15 U.S.C. § 1052(e)(5)..............................................................................................................39
15 U.S.C. § 1065.......................................................................................................................39
17 U.S.C. § 506 ........................................................................................................................31
18 U.S.C. § 1001.......................................................................................................................34
18 U.S.C. § 1341.......................................................................................................................22
18 U.S.C. § 2314.......................................................................................................................31
18 U.S.C. § 3161(h)(8)(A) and (B)(ii) .......................................................................................67
18 U.S.C. 3006A, Pub. L. 105-119, Title VI, § 617 (Nov. 26, 1997) .........................................60


                                                                      v
 Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 7 of 69 PageID: 671




21 U.S.C. § 252(i).....................................................................................................................26
21 U.S.C. § 301, et. seq.............................................................................................................26
21 U.S.C. § 331(a) (June 25, 1938, ch. 675, Sec. 303, 52 Stat. 1043 (1938)...............................29
21 U.S.C. § 331(c) ....................................................................................................................36
21 U.S.C. § 333(a) ....................................................................................................................26
21 U.S.C. § 333(k)....................................................................................................................26
21 U.S.C. § 335 (ch. 675, Sec. 305, 52 Stat. 1045 (1938) ..........................................................29
21 U.S.C. § 358 ........................................................................................................................39
21 U.S.C. § 360aa .......................................................................................................................6
21 U.S.C. § 393(b)(2) ...............................................................................................................29
21 U.S.C. § 801, et seq..............................................................................................................31
28 U.S.C. § 530B......................................................................................................................62




                                                                   vi
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 8 of 69 PageID: 672




                                 PRELIMINARY STATEMENT

       By even the most objective standards, the Government’s case against the doctor appears

to conclusively prove his guilt. From the investigative reports alone, the doctor apparently

convinced his clients that the mixture of Botulinum Neurotoxin Type A (hereinafter BoNT/A) he

offered was a safe, legal and effective alternative to Allergan’s BOTOX® Cosmetic product.

Indeed, one patron was told that the alternative BoNT/A “was legal to use and that other doctors

were using it in place of Botox.” Hughes Cert., at ¶ 2, Exhibit 1. Another customer was told that

the alternative BoNT/A was “awaiting FDA approval” and that “it could be used on humans.”

Id. at ¶ 3, Exhibit 2. Yet another client recalls how the doctor told him how the product was “the

same as Botox® Cosmetic” and how the doctor’s literature “always ‘talked about the safety’” of

the product. Id. at ¶ 4, Exhibit 3.

       The doctor told his customers these things despite the fact that the alternative BoNT/A he

offered had the words “FOR RESEARCH PURPOSES ONLY – NOT FOR HUMAN USE”

printed on the side of the vial. Not surprising, the doctor had an explanation for this too, and the

prosecution’s reports contain page after page of detail concerning his deception. The doctor told

one patron that the warnings were there to “by-pass the patent that Allergan had on their Botox®

product” but that the alternative BoNT/A was just “like Allergan’s Botox®.” Id. at ¶ 5, Exhibit

4. Another customer, who was concerned, was assured that – notwithstanding the warnings – the

alternative BoNT/A was “safe to use on humans” and that “it was labeled that way because of

trademark issues. . . .” Id. at ¶ 6, Exhibit 5. Indeed, whenever any of the good doctor’s clients

raised any doubt or concern about the warnings, the prosecution’s numerous reports show that

the doctor’s explanation was nearly always the same: the product the doctor offered was “generic




                                                 1
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 9 of 69 PageID: 673




botox,” id. at ¶ 4, Exhibit 3, “no different than Allergan’s product,” and that the warnings were

only “for legal purposes to protect ourselves.” Id. at ¶ 7, Exhibit 6.

       The Government’s reports show that the product the doctor offered was basically

identical to Allergan’s BOTOX® Cosmetic product. Id. at ¶ 8, Exhibit 7. The prosecution’s

reports, however, conclusively and completely prove that nearly everything else the doctor told

his clients were beyond puffery and exaggeration, they were bold-faced lies designed to deceive

and to defraud his customers. The product the doctor offered was never in the FDA approval

process, it was not legal for the doctor to offer it to his customers, and the warnings were not

placed solely for “legal purposes” or to avoid “trademark issues.” Yet the Government’s reports,

page after page, show that the doctor’s clients bought into his deception, and they used his

product. For this reason, the Government sought to stop the doctor from continuing to commit

his deceptive practices, and quite rightfully so. In the Government’s own words, the “United

States also seeks to protect individuals from defendants’ false and misleading promotion,

advertising, education, and treatment, representing and using Botulinum Toxin Type A as an

FDA approved drug for human use.” Id. at ¶ 9, Exhibit 8 (at page 23, ¶ 40).

       Unfortunately for the Government in this case the doctor referred to above is Dr. Chad

Livdahl, who the Government already prosecuted and is in jail for fraud and who sold the

alternative BoNT/A to Dr. Albert Poet – the defendant in this case – and to over two hundred

other physicians and surgeons. The “individuals,” i.e., the victims, the Government sought to

protect from Livdahl’s false, misleading and misbranded promotions were the thousands of

physicians and surgeons who, like Dr. Albert Poet, received Livdahl’s advertisements.

       Based largely upon the evidence outlined above, the Government prevailed and obtained

its restraining order against Livdahl and his company, Toxin Research International (“TRI”). It




                                                  2
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 10 of 69 PageID: 674




also secured Livdahl’s conviction. Now, however, the Government seeks to prosecute one of

the same individuals – a fraud victim -- it previously sought to protect, Dr. Albert Poet. In so

doing, however, agents of the Government have ignored federal statutory law mandating a

hearing, failed to produce exculpatory evidence and statements of the accused, intimidated and

lied to witnesses necessary to the defense, and quite possibly, failed to meet their duties to the

grand jury. For the reasons set forth below, Dr. Albert Poet respectfully, and earnestly, urges

this Court to dismiss the Indictment. In the alternative, Dr. Poet requests that the Court grant

leave to engage in further pretrial discovery necessary to the defense and not otherwise available

under Fed. R. Crim. P. 16.

                                 FACTUAL BACKGROUND

        Given the complexity of the issues involved in this case, as well as the circumstances

underlying the Defense’s motions, it is necessary to provide the Court with an extensive

background on the substance and the trademark at issue, its history of approval before the FDA,

the other prosecutions which led to the instant case, and the investigation and prosecution of the

instant case.

A.      Botulinum Neurotoxin Type A

        1.      Overview of the Substance and Botulism

        Botulinum Neurotoxin Type A (also called Botulism Toxin Type A) is one of seven

protein derivatives of the bacterial organism Clostridium Botulinum (“C. Botulinum). Id. at ¶ 10,

Exhibit 9 (Center for Disease Controls Botulism Handbook, at page 5). Each of the seven types

is designated by sequential alphabetic letters, i.e., Types A through G. Id. Types A, B, E, and in

rare cases, F have been known to cause the four types of botulism, the disease, in humans. Id.

The protein, once introduced to the body in sufficient quantity, begins to bind at the nerve




                                                3
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 11 of 69 PageID: 675




endings where the nerves join the muscles. Id. at ¶ 11, Exhibit 10 (FDA Consumer Magazine

(Dec. 1995)). The result is an increasing weakness and paralysis that descends from the head

down, affecting, among other things, breathing. Id. According to the FDA and the CDC,

successful treatment of botulism depends upon the rapid administration of an antitoxin to prevent

further C. Botulinum Toxin from attaching to nerve endings and the close monitoring of the

patient’s respiratory functions to determine whether a ventilator is required. Id. at ¶ 10, Exhibit 9

(CDC Manual, at page 13-14).

       The disease can be lethal, and indeed, the mortality rate between 1899 and 1950 was

approximately 60%. Id. at ¶10, Exhibit 9 (CDC Manual, at page 7). Due to advances in the wide

distribution and rapid introduction of the antitoxin, the mortality rate had dramatically decreased

by the 1990’s to somewhere between 2% (according to the FDA) and 15% (according to the

CDC). Id. at ¶ 11, Exhibit 10 (FDA Consumer Magazine); Id. at ¶ 10, Exhibit 9 (CDC Manual,

at page 7). It is important to note, however, that there is no dispute as to the incubation period

and the onset of symptoms: infected individuals begin to display the initial symptoms of the

disease (blurred vision, nausea, vomiting, dry mouth) within 18 to 36 hours, but these

symptoms can occur as little as six hours or as long as ten days after infection. Id. at ¶ 10,

Exhibit 9 (CDC Manual, at page 11).

       2.      Botulinum Neurotoxin Type A’s Use in Humans and the Genesis of “Botox”

       In the early 1960’s, an ophthalmologist in California began to study the effect of greatly

diluted doses of the botulism toxin on muscle spasms in the optic nerve. Id. at ¶ 12, Exhibit 11

(FDA Medical Officer Review, at page 12). By the late 1970s, Botulinum Neurotoxin Type A

was being used in clinical trials for the treatment of strabismus, otherwise known as “cross-eye”

and “lazy-eye.” Id. In this regard, the California ophthalmologist who first began the studies,




                                                 4
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 12 of 69 PageID: 676




Dr. Alan Scott, cultivated a strain of BoNT/A and utilized it in his research under a name he

trademarked in 1981, “Oculinum.” Id. at ¶ 13, Exhibit 12. Dr. Scott’s company, Oculinum, Inc.

obtained FDA “Orphan Drug” approval to begin testing Oculinum’s effectiveness on humans for

various eye ailments in 1984. Researchers soon discovered, however, that this was not the only

use for BoNT/A. Indeed, by at least 1986, researchers had discovered that BoNT/A could be

used on a wide variety of dystonias, i.e., neurological movement disorders characterized by

involuntary muscle contractions, which force certain parts of the body into abnormal, sometimes

painful, movements or postures. Oculinum, Inc. received approval to expand its testing use in

1986 to various “dystonias.” Most interesting, however, is that beginning in the mid-1980s to

the early 1990s, physicians and researchers began to commonly refer to Botulinum Toxin

Type A in academic journals as BOTOX.

       In November 1986, five researchers explained their results from using BoNT/A on

“spastic dysphonia” and “other cranial dystonias,” including those of the larynx (throat), in a

letter to an academic journal dedicated to Ear Nose and Throat Physicians. Id. at ¶ 14, Exhibit

13. In this letter, the researchers explained, “We would like to share our experience using

botulinum toxin (BOTOX) for the treatment of ‘spastic dysphonia’ as part of a trial of toxin

injections for the treatment of other cranial dystonias.” Id. Throughout the remainder of the

letter, the research physicians continually referred to BOTOX as a generic contraction for

Botulinum Toxin. Id.

       Between 1986 and November 1991, foreign and domestic physicians, researchers,

medical groups, and even the news media used the terms Botox, BOTOX, or BoTox, as generic

contractions for Botulinum Toxin. Id. at ¶¶ 14-31, Exhibits 13 through 30. Our limited research

has revealed at least 15 academic articles, 2 news articles, and 1 medical academy policy




                                              5
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 13 of 69 PageID: 677




statement utilizing these terms during this time frame. Id. The import of this widespread use of

the term Botox has significant repercussions on the Government’s ability to pursue this case as a

matter of law.

          On December 29, 1989, the FDA gave final approval for the use of Dr. Alan Scott’s

Oculinum as an Orphan Drug under 21 U.S.C. § 360aa, et seq. Id. at ¶ 12, Exhibit 11 (FDA

Medical Officer’s Review, at page 5). It should be noted that Allergan, Inc. obtained the rights

to market and to use Oculinum in research projects from Occulinum, Inc. in 1988. After

Oculinum was approved for market in 1989, Allergan marketed the product under Dr. Scott’s

trademarked name, “Oculinum.” Id. at ¶ 24, Exhibit 23. Eventually, FDA approved the use of

BoNT/A for various cervical dystonias (1991) and, as most commonly known, to reduce certain

forehead wrinkles (2002). Id. at ¶ 32, Exhibit 31 (FDA Warning Letter to Allergan (June 23,

2003)).

          Today, the FDA admits that there is widespread off-label (unauthorized but legal) use of

BoNT/A to treat a wide variety of maladies and conditions. Id. at ¶ 12, Exhibit 11 (FDA

Medical Officer’s Review, at pages 16-24). From alleviating the conditions of those stricken

with cerebral palsy, strokes, migraine headaches and various dystonias to treating excessive

sweating and overactive bladders, BoNT/A has become a common and accepted substance in the

practice of medicine.     Certainly, as with any other medication, the danger associated with

Botulinum Toxin remains, but even the FDA has been impressed by its safety record as a

treatment for various human conditions. As acknowledged by Bill Habig, Ph.D, the FDA’s

former director of biology products, Botulinum Toxin has “an amazing safety record.” Id. at ¶

11, Exhibit 10 (FDA Consumer Magazine). Despite the FDA’s initial concern, Habig has stated

that the toxin, as a therapeutic substance, “has turned out to be very safe.” Indeed, there have




                                                 6
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 14 of 69 PageID: 678




been no reported cases of botulism fatalities resulting from the use of BoNT/A in humans since

1985, and four confirmed cases of botulism resulting from its overdose. Those four cases are

discussed below, as it is apparent that Government agents have misrepresented the incident

causing these infections to certain of the defense’s witnesses in this litigation.

B.      Allergan, Inc. and it’s Invalid Trademark on BOTOX

        The FDA and Allergan, Inc. would have the world believe that Botox was the name

Allergan, Inc. created to describe its proprietary BoNT/A, but that just isn’t so.                       In fact,

Government records reveal that Allergan, Inc. submitted an untrue statement1 to the U.S. Patent

and Trademark Office in its initial application by wrongly indicating the date of its first use in

the public domain.

        On about June 28, 1991, about a year and a half after the FDA approved Oculinum for

use in certain eye disorders, Allergan, Inc. purchased Oculinum, Inc. and all of its intellectual

property, including the trademark for Oculinum. Id. at ¶ 33, Exhibit 32. On February 2, 1991,

Allergan, Inc. filed an application to register the name BOTOX for “Pharmaceutical preparations

for the treatment of neurologic disorders, in class 5.” Id. at ¶ 34, Exhibit 33. This trademark was

accepted by the U.S. PTO on August 18, 1992. Id. On December 21, 1990, Allergan, Inc. filed a

second application to register the name BOTOX for “Pharmaceutical preparations: namely,

ophthalmic muscle relaxants, in class 5.” Id. at ¶ 35, Exhibit 34. This trademark was accepted

by the U.S. PTO on June 9, 1992. Id.

        In both trademark applications, Allergan, Inc. submitted a “Declaration of First Use” to

the PTO, under the penalty of perjury, stating that the first use of BOTOX was in September,

1990 and that its first use in commerce was on January 22, 1992. Id. at ¶¶ 34-35, Exhibits 33


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        If this were a civil action to invalidate Allergan’s BOTOX trademark, the cause of action would be fraud
upon the U.S. PTO.


                                                        7
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 15 of 69 PageID: 679




and 34. The problem is that Allergan, Inc.’s sworn statement that the first use of the term

BOTOX was in September 1990 simply was not true. Since at least 1986, five years prior to

Allergan, Inc.’s first application to the U.S. PTO, physicians, researchers, medical societies, and

even the news media used the term Botox as a generic description and contraction for Botulinum

Neurotoxin. Id. at ¶¶ 14–31, Exhibits 13–30. To intellectual property lawyers, the import of

these facts is obvious: generic names cannot, under any circumstances, be trademarked, and

knowing failure to advise the U.S. PTO of a trade-name’s true prior use constitutes fraud

resulting in the invalidation of the mark as a matter of law. These facts are irrefutable, and as

discussed in the analysis section, they act as a complete bar to this prosecution under Supreme

Court law.

       The rest, as they say, is history. Allergan, Inc. began to sell its newly-acquired product as

BOTOX rather than Oculinum in 1992, and it abandoned the Oculinum trademark altogether on

July 19, 2003. Id. at ¶ 36, Exhibit 35.

C.     Toxin Research International, Inc. and the Four Botulism Illnesses in Florida

       1.      Toxin Research International and It’s Fraud

       From about at least 2003 until early 2006, Dr. Chad Livdahl and his wife, Dr. Zarah

Karim, owned and operated three companies in Tucson, Arizona, including TRI. According to

Government investigative reports supplied during discovery, in January 2003, Chad Livdahl

contacted List Biological Laboratories, Inc. (“List”) in Campbell, California, to inquire about the

purchase of BoNT/A. Id. at ¶¶ 37 and 38, Exhibits 36 and 37. Purchasing under the name

POWDERZ, Inc., Livdahl ordered custom-manufactured BoNT/A from List. The order required

List to manufacture three different lots of BoNT/A, add a quantity of human albuman (supplied

by Livdahl), and to package the resulting freeze-dried mixture into individual vials such that




                                                8
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 16 of 69 PageID: 680




each vial had 5 nanograms (5 billionths of a gram) of purified BoNT/A. Id. On or about May 15,

2003, List shipped 24 boxes of vials to Livdahl. Id.

       Thereafter, Livdahl and Karim, under the guise of Toxin Research International, began to

market the vials to physicians throughout the United States.          Utilizing a mailing list of

approximately twenty thousand people, Livdahl sent out thousands of TRI fliers advertising “an

amazing offer” regarding “A Very Stable Clostridium Botulinum Toxin Type A.” Id. at ¶ 39,

Exhibit 38 (Mikhael grand jury transcript, 20:1 – 20:13); Id. at ¶ 7, Exhibit 6 (D’Entremont

Certification, at ¶ 2, Exhibit 1). The list consisted of mainly practicing physicians, and Livdahl

instructed his employees at TRI to add names of additional physicians and to remove the names

of researchers and scientists from the mailing list. Id. at ¶ 39, Exhibit 38 (Mikhael transcript,

20:14 – 22:17).     This is significant because Livdahl, on October 6, 2004, told an FDA

investigator that TRI only sold its BoNT/A product to research institutions and licensed

physicians conducting research. Id. at ¶ 40, Exhibit 39A (Johnson Certification, at ¶ 4).

       According to the Government’s own investigation, Livdahl and Karim then began to

market their product directly to physicians by sponsoring conferences at which their product was

showcased. Id. at ¶ 9, Exhibit 8 (U.S. v. Livdahl Complaint, at ¶¶ 24(a) – 24(e)). Moreover,

according to the Government’s own investigation, Livdahl and Karim represented to physicians

that their product was “FDA approved,” “awaiting FDA approval,” and “generic Botox.” Id. at ¶

9, Exhibit 8 (U.S. v. Livdahl Complaint, at ¶ 28(g)); Id. at ¶¶ 3 and 4, Exhibits 2 and 3. Indeed,

as the Government’s investigation has revealed, Livdahl and Karim successfully created the

impression to the physicians whom they were marketing that their BoNT/A was safe and legal to

use. Id. at ¶¶ 2-7, Exhibits 1-6.




                                                9
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 17 of 69 PageID: 681




         Even when physicians began to question the warnings on the label, Livdahl provided

them with an explanation that was designed to overcome their concerns. Id. Livdahl went so far

as to prohibit TRI employees from mentioning that his BoNT/A was not FDA approved to

physicians/customers and to indicate that the warnings (“NOT FOR HUMAN USE”) were for

legal purposes. Id. at ¶ 39, Exhibit 38 (Mikhael Transcript, 11:21 – 12:18). As one former TRI

employee testified to a Florida Federal Grand Jury:

         I don’t believe that [Livdahl] told me right away, but later on, it was obvious that
         it was not FDA approved, and I believe he told me not to mention the fact that it
         was not FDA approved, and just that we had to write [the warnings] down for
         legal purposes.

Id. at ¶ 39, Exhibit 38 (Mikhael Transcript, 12:14 – 12:18).2 According to Government agents,

the day after one TRI employee provided her research to Livdahl demonstrating that TRI’s

BoNTA was required to meet FDA regulations and that approval was a lengthy process, Livdahl

fired her. Id. at ¶ 40, Exhibit 39 (FDA S/A Perez Certification). Livdahl’s scheme worked, and

the Government’s own documents show that he convinced over two hundred physicians and

surgeons to purchase his BoNT/A, including Dr. Albert Poet, the defendant in this case. Id. at ¶

41, Exhibit 40 (TRI customer and sales summary).3

         The Government eventually sought, and obtained, an injunction against Livdahl and TRI

from further marketing its BoNT/A. In the Government’s pleadings, it stated that the “United

States also seeks to protect individuals from defendants’ false and misleading promotion,

advertising, education, and treatment, representing and using Botulinum Toxin Type A as an

FDA approved drug for human use.” Id. at ¶ 9, Exhibit 8 (at page 23, ¶ 40). Without question,

the “individuals” about whom the Government was referring were the physicians and surgeons


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        It is important to note that this grand jury transcript, containing clearly exculpatory material, was not
provided to the Defense by the Government.
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        This document, too, was not provided to the Defense by the Government.


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Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 18 of 69 PageID: 682




who, like Dr. Albert Poet, were duped by Livdahl’s deception. Indeed, in its brief in support of

injunctive relief, the Government said to the District Court:

       The potential for danger to the public is too great to allow defendants to continue
       to ship their product in interstate commerce, and to mislead individuals into
       thinking their product is one approved by the FDA, or that is it safe for human
       use.

Id. at ¶ 42, Exhibit 41 (Government’s Brief, at page 23). Thus, by the Government’s own

pleadings seeking an injunction restraining Livdahl from making further misrepresentations to

“individuals,” i.e. physicians (because he did not sell to patients), the Government argued to the

District Court that Livdahl and TRI should be restrained from further misrepresentations. Id.

The Government won, and it received a restraining order by clear and convincing evidence. Id.

at ¶ 43, Exhibit 42 (Detention Hearing Transcript, at 80:12 – 80:17). Livdahl was eventually

convicted of conspiracy and mail fraud, and he was sentenced to 60 months in jail. Id. at ¶ 44,

Exhibit 43. What did it take to incite the Government to stop Livdahl after over a year in

business? A tragic incident, and Government agents have subsequently attempted to wrongfully

and outrageously exploit it to their maximum advantage in the instant case.

       2.      Dr. Bach McComb and the Four Botulism Cases in Florida

       In November 2004, Dr. Bach McComb’s medical license was suspended, but he

nonetheless was working as an employee at the Advanced Integrated Medical Center in Ft.

Lauderdale, Florida. Id. at ¶ 42, Exhibit 41 (Government Brief, at page 7, n. 6). Ignoring his

license suspension, McComb ordered raw BoNT/A directly from List, diluted it, and

administered it to himself and three individuals on or about November 24, 2006. Id. Tragically

for McComb and his three patients, McComb grossly under-calculated the amount by which he

should have diluted the toxin. The result was that all four individuals, including McComb, were




                                                11
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 19 of 69 PageID: 683




stricken with botulism to such a degree that each required the assistance of mechanical

ventilators despite the administration of antitoxin. All four individuals eventually recovered.

       It is important to note that the FDA and Government Prosecutors knew, from at least

as early as December 23, 2004, that TRI’s BoNT/A was not involved in the four Florida

botulism cases.    Indeed, as acknowledged by the Government in its brief in support of a

preliminary injunction, the Government stated:

       The Court should be aware, however, that the United States does not believe that
       the purported “Botox” used in this specific incident was TRI’s product. Rather, it
       is the United States’ belief that the purported “Botox” used to inject these four
       victims was a product manufactured by List Biological Laboratories, Inc. – a
       company not named in this lawsuit.

Id. at ¶ 42, Exhibit 41 (Government Brief, at page 7, n. 6). This distinction was repeated by a

Government Prosecutor during Livdahl’s detention hearing:

       Then, on November 30th, 2004, a national news story broke regarding four
       individuals, including Bach McComb, a co-defendant, and three others who had
       been injected with what purported at that time to be BOTOX had wound up with
       Botulism.

       Now, as it turned out, and I want to be very clear about this, it was not [Livdal’s
       and Karim’s] product that caused that condition.

Id. at ¶ 43, Exhibit 42 (Detention Hearing Transcript, at 12:14 – 12:21) (emphasis added). The

FDA’s and the Government’s knowledge is a significant point in this case.

       3.      The Path to Dr. Albert Poet

       When investigators searched Advanced Integrated Medical Center on December 1, 2004,

they discovered materials from TRI concerning its BoNT/A product. Id. This discovery, in turn,

led to a search warrant at TRI’s headquarters in Arizona on December 4, 2004. Id. Investigators

discovered that computers seized from TRI’s facility had been tampered such that files

containing sales and customer information had been deleted. Id. at ¶ 42, Exhibit 41 (Government




                                                 12
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 20 of 69 PageID: 684




Brief, at page 11-12). Investigators, however, were able to recover this data, and they learned

that Dr. Albert Poet, along with over two hundred physicians and surgeons, had purchased TRI’s

product. Id.

D.     The FDA’s Investigation and Prosecution of Dr. Albert Poet

       1.      Investigation Leading to Indictment

       On or about February 10, 2005, the FDA served Dr. Albert Poet with a Grand Jury

subpoena requesting documents pertaining to his treatment of patients with BoNT/A. On or

about March 3, 2005, Dr. Poet’s prior counsel, Patrick T. Collins, Esq., produced over two

thousand pages of records, including patient records, invoices, credit card statements, bank

records, and appointment books. Id. at ¶ 45, Exhibit 44. On or about May 12, 2005, Attorney

Collins supplemented the production with approximately five hundred additional documents

relating to credit card authorizations and internal financial documents. Id.at ¶ 46, Exhibit 45. On

or about June 6, 2005, FDA Special Agent Marc Hess and Assistant U.S. Attorney Hope Olds

met with Attorney Collins and Dr. Poet for a proffer session. Id. at ¶ 47, Exhibit 46. Thereafter,

between on or about July 12, 2005 and September 13, 2005, FDA Special Agent Marc Hess

conducted interviews of at least approximately seven patients and one employee. On July, 13,

2006, the Government tendered a plea offer to Dr. Poet. Id. at ¶ 48, Exhibit 49. This plea was

rejected at the end of July 2006.

       On August 4, 2006, twenty months after the FDA obtained an injunction prohibiting the

sales of TRI’s BoNT/A, the FDA sent a letter to many (but not all) of Dr. Poet’s patients

advising them that “during the year 2004, you may have been exposed to an unapproved form of

Botulinum Toxin Type A.” Id. at ¶ 49, Exhibit 48 (emphasis added). Furthermore, the FDA

urged the recipients to contact S/A Hess regarding their “potential exposure.” Id. (emphasis




                                                13
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 21 of 69 PageID: 685




added). The letters to the patients were soon followed up by a second letter from the U.S.

Attorney’s Office informing the patients that “their name was forwarded to our office by law

enforcement as a victim (or potential victim) . . .” of Dr. Poet. Id. at ¶ 50, Exhibit 49. The

import of these letters was clear: the FDA and the Government – who made no attempt to advise

or warn Dr. Poet’s patients (whose identities they knew) in the year and a half they

investigated him – suddenly warned his “victim” patients about their “exposure” to

“unauthorized Botulinum Toxin” immediately after Dr. Poet rejected the plea offer and when

they needed these patients as their witnesses (and not the defense’s). In essence, it was an

improper attempt to poison the witness well.         The FDA’s subsequent interviews of these

witnesses are even more troubling.

       2.      S/A Hess’ Interviews with Witnesses and the Prejudice to the Defense

       Shortly after the FDA sent out the letters, S/A Hess started to interview Dr. Poet’s

patients. To encourage at least several of these patients to become witnesses favorable to the

Government, S/A Hess engaged in improper deceptive practices. For instance, on or about

August 25, 2006, S/A Hess called patient Debra V. O’Brien and told her that Dr. Poet had

deceived her “by using a non-FDA approved substance rather than Allergan’s brand of

BOTOX®.”       Certification of Debra O’Brien, at ¶ 3.       More troubling than this attempted

coaching, S/A Hess went further by stating that “there were people in Florida who had been

paralyzed and on ventilators from the same product that Dr. Poet used on [O’Brien].” Id. at ¶ 4

(emphasis added). O’Brien informed S/A Hess that she did not feel that she had been deceived

and that she intended to receive further treatment from Dr. Poet. Id. at ¶ 5.

       S/A Hess’ conduct is significant in three distinct ways.         First, instead of inquiring

whether the patient was a victim, he affirmatively stated and attempted to plant the seed in the




                                                14
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 22 of 69 PageID: 686




patient’s mind that she indeed was a victim of deception. Second, and most troubling, S/A Hess

affirmatively lied to the patient by telling her that people had been paralyzed and on ventilators

from utilizing the same product that Dr. Poet had used on her. As stated previously, the FDA

and the Government knew as early as December 23, 2005 – over twenty months previous – that

the TRI product was not involved in the Florida botulism cases.          Id. at ¶ 42, Exhibit 41

(Government Brief, at page 7, n. 6). Finally, S/A Hess included none of his statements to

O’Brien, nor any of O’Brien’s statements exculpating Dr. Poet, in his FDA Memorandum of

Interview. Hughes Cert. at ¶ 51, Exhibit 50. Accordingly, it is apparent that S/A Hess attempted

to conceal his tactics to influence potential defense witnesses and to minimize exculpatory

evidence. Unfortunately, this was not an isolated incident.

       On August 15, 2006, S/A Hess interviewed called Theresa Buterick and informed her that

“people in Florida had become sick using a product similar to that which Dr. Poet had used.”

Certification of Theresa Buterick, at ¶ 4. Buterick informed S/A Hess that she “did not believe

that [she] was receiving Allergan’s BOTOX® because Dr. Poet had indicated otherwise during

[their] discussions.” Id. at ¶ 6. Again, S/A Hess failed to mention in his report that he informed

Buterick of the sicknesses in Florida, but he did state that Dr. Poet informed Buterick that he was

not providing her with Allergan’s product. Hughes Cert. at ¶ 52, Exhibit 51. As stated in his

Memorandum of Interview, “Buternick [sic] did not believe that she was receiving the

trademark drug named Botox because Poet had indicated otherwise during their discussions.”

Id. at page 2 (emphasis added).      Most interestingly, the Government did not provide the

Memorandums of Interview of either Buterick or O’Brien as part of its discovery, despite the

fact that they contain exculpatory material. The FDA’s conduct, however, does not end there.




                                                15
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 23 of 69 PageID: 687




       On July 12, 2005, S/A Hess surprised patient Shirley Spagnola by showing up at her

residence to interview her. During their conversation, S/A Hess intimated that Spagnola could

have gotten sick from the non-FDA approved botox that Dr. Poet used on her, and he said that

“other people had received non-FDA approved botox had gotten sick or had died.” Spagnola

Certification, at ¶ 3. Spagnola informed S/A Hess of her trust in Dr. Poet and that she continues

to trust him. Id. at ¶ 6. Again, S/A Hess did not mention in his Memorandum of Interview that

he informed Spagnola about the four botulism cases in Florida. Hughes Cert., at ¶53, Exhibit 52.

       Apparently, S/A Hess’ efforts to influence the testimony of potential defense witnesses

worked. On July 12, 2005, S/A Hess traveled to patient Joan Hall’s residence and interviewed

her concerning Dr. Poet’s use of the TRI product. Over one year later, on July 31, 2006, Dr.

Poet’s office contacted Hall to request her consent to be interviewed by a Defense investigator,

retired FBI Special Agent Ken Blankenbuehler. Hall returned the call to Dr. Poet’s office and

spoke directly with Dr. Poet, who took contemporaneous notes.          Id. at ¶ 54, Exhibit 53.

According to Hall, she became ill after her BoNT/A injections in December 2004. Id. Hall

indicated that she “spoke to [an] FDA official who blamed unapproved botox.” Id. (emphasis

added). Furthermore, Hall indicated that she became “paralyzed on [the] right side of [her] face

where [Dr. Poet] gave the [botox].” Id. (at page 2). Finally, Hall told Dr. Poet that the “FDA

experts said it was from unauthorized botox.” Id. (emphasis added). About three weeks later,

on August 23, 2006, Hall called S/A Hess to tell him of her conversation with Dr. Poet. Hall told

S/A Hess that she told Poet that he had “’almost killed’ her with the previous Botox treatment.”

Id. at ¶ 55, Exhibit 54. Hall apparently ended her conversation with S/A Hess by stating that

“she hoped that [Dr. Poet] had ‘ill luck’ with his life.” Id. Nowhere in any of S/A Hess’ reports




                                               16
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 24 of 69 PageID: 688




does he indicate that he advised Joan Hall of the source of her medical condition. Id. at ¶ 56,

Exhibit 55.

       Unfortunately, Hall wasn’t the only witness who the Government potentially influenced.

On August 10, 2006, S/A Hess called patient Theresa McCormick to interview her. During this

conversation, S/A Hess told McCormick that the product that Dr. Poet used on her paralyzed

people in Florida and that Dr. Poet paid less for the TRI product than Allergan’s brand of

BOTOX®. Blankenbuehler Certification, at ¶ 4. Apparently, McCormick told S/A Hess that she

did not feel defrauded and did not mind receiving generic botox. Id. at ¶ 5. McCormick,

however, “stated that she was very concerned about the FDA contacting her, attempting to make

her a victim and attempting to frighten her by intimating that she could have gotten sick from her

treatments.” Id. at ¶ 6. Although she wanted to help Dr. Poet, she indicated that she did not

want to testify in this matter, and she refused to sign a certification concerning her conversation

with S/A Hess. Id. According to Blankenbuehler, who retired from the FBI after 34 years,

“[b]ased on McCormick’s attitude I felt that she was intimidated by the government’s attempt to

gain her cooperation by using scare tactics.” Id.

       Again, S/A Hess failed to mention in his Memorandum of Interview that he falsely told

McCormick that people had been paralyzed in Florida from the same product that Dr. Poet used

on her or that he informed her of the price that Dr. Poet had paid. Hughes Cert., at ¶ 57, Exhibit

56. Additionally, S/A Hess did not mention in his report that McCormick did not feel defrauded,

but he did mention that McCormick stated that Poet “never pushed any treatment to her” and that

she had “absolute trust” in Dr. Poet. Id. As with all of S/A Hess’ other Memorandum’s of

Interview, the Government failed to provide this exculpatory information during discovery.




                                                17
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 25 of 69 PageID: 689




        3.     Indictment and the Government’s Pretrial Discovery

       At some point prior to August 24, 2006, the FDA recommended, and the U.S. Attorney’s

Office decided, to indict Dr. Albert Poet. It is important to note that at no time prior to August

24, 2006 did the FDA ever issue a Notice and Opportunity to Present Views as mandated by

federal law and the accompanying regulations. 21 U.S.C. § 335; 21 C.F.R. § 7.84-7.86. On or

about August 24, 2006, the Government obtained its Indictment against Dr. Poet for 13 counts of

mail fraud (representing the 13 times he made purchases from TRI) in violation of 18 U.S.C. §

1341, and one count of felony misbranding, in violation of the Food, Drug and Cosmetic Act, 21

U.S.C. § 331(k), 333(a)(2) and 352(i). On September 5, 2006, the Court entered its standard

Order for Discovery and Inspection. On or about September 3, 2006, the Government delivered

its discovery pursuant to the Court’s Order. Id. at ¶¶ 58 and 59, Exhibits 57 and 58 (discovery

cover letter and index). On or about September 15, 2006, the Government supplemented its

discovery production by notifying the defense of its intention to utilize Dr. Marc Kenneth

Walton as its expert on certain matters. Id. at ¶ 60, Exhibit 59 (Walton designation).

       Having used the Court’s PACER system to view the Government’s pleadings and

certifications in the civil and criminal cases in Florida against Chad Livdahl and his company,

TRI, the Defense immediately recognized that the Government failed to produce numerous

documents which were exculpatory in that the Government previously indicated and submitted

evidence tending to show that Livdahl and TRI committed fraud against the doctors to whom it

sold their BoNT/A product. Accordingly, the Defense wrote to the Government on September

28, 2006 to request that it provide all exculpatory materials. Id. at ¶ 61, Exhibit 60. The

Government responded on September 30, 2006 that it had already produced all exculpatory

materials. Id. at ¶ 62, Exhibit 61. On October 11, 2006, the Defense replied by reminding the




                                                18
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 26 of 69 PageID: 690




Government that its duty to provide exculpatory materials included not only documents in their

possession, but also “documents in the possession of other government entities assisting in [the

Government’s] investigation.” Id. at ¶ 63, Exhibit 62.

       The Government responded on October 17, 2006 by producing well over one thousand

pages of documents describing over 500 interviews with doctors, patients, medical employees,

researchers and assorted individuals. Id. at ¶¶ 64 and 65, Exhibits 63 and 64 (discovery cover

letter and index). Ten days later, on October 27, 2006, the Government produced an additional

approximate two thousand to three thousand pages of discovery describing, among other things,

more interviews with patients, doctors, researchers and assorted individuals; certain items

obtained during the search warrants at TRI; invoices and financial records of TRI and various

individuals and companies; scientific analyses results; e-mails and memos; and, medical records.

Id. at ¶¶ 66 and 67, Exhibits 65 and 66.

       Certainly, there were many items in the Government’s supplemental discovery which

contained evidence tending to exculpate Dr. Poet. See, e.g., id. at ¶¶ 2-6, Exhibits 1 through 5

(memo’s of physician interviews describing Livdahl’s fraudulent statements to deceive them into

purchasing TRI’s product). The vast majority of the documents, however, had no bearing

whatsoever on this case, and it is apparent that the FDA agents simply transferred thousands

upon thousands of pages of materials onto a computer disc. For instance, as the indexes indicate,

there are literally hundreds of interview memorandums of individuals who were patients of other

doctors located in other parts of the country. Id. at ¶¶ 66 and 64. Also included in the

Government’s production were other doctors’ appointment books, time cards, bank account and

credit card statements – all of individuals located in other parts of the country who and which

have nothing to do with this case whatsoever. Id. Given the fact that the relevant documents




                                               19
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 27 of 69 PageID: 691




were included amongst a sea of irrelevant documents, it is obvious what the result would be upon

the defense.

       More troubling is what the Government failed to include in its vast production. The

Government, for instance, produced none of its pleadings or memos which indicated that TRI

was not responsible for the four botulism cases in Florida. Id. at ¶¶ 42 and 43, Exhibits 41 and

42 (Government’s Brief in support of an Injunction and Detention Hearing transcript). Nor did

the Government include a copy of the Government’s certification indicating that a TRI employee

had been fired after having advised Livdahl that the process to obtain FDA approval was quite

lengthy. Id. at ¶ 40, Exhibit 39 (FDA S/A Perez Certification). Certainly, they were publicly

filed documents, but the defense is nonetheless entitled to them. There were other exculpatory

items, however, of which the Government had sole possession and control, and yet failed to

produce to Dr. Poet.

       For instance, the Grand Jury Testimony of Maryan Mikhael detailed how Livdahl

instructed her to deceive physicians who called concerning TRI’s BoNT/A. Id. at ¶ 38 (Mikhael

Grand Jury Transcript). The Government did not produce the transcript in this case, nor did it

produce the e-mails between Mikhael and Livdahl referenced in the testimony and in the

Government’s possession.     In addition, there is a tape recording and a transcript of a

conversation between Livdahl and Mikhael during which Livdahl may have attempted to

influence Mikhael’s statements to Government investigators. Id. at ¶ 68, Exhibit 67. This too

was not produced.

       What is most surprising, however, is the fact that the Government failed to produce any

exculpatory witness statements of patients and employees in this case. As has already been

demonstrated, S/A Hess’ interview reports do contain some exculpatory information. Id. at ¶¶




                                              20
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 28 of 69 PageID: 692




51-53, 57, Exhibits 50 -52, 56. These, however, were not the only reports that contained

exculpatory information. On August 28, 2006, S/A Hess called patient Donna Rice. Id. at ¶ 69,

Exhibit 68. During this interview, Rice told S/A Hess that she had “complete trust” in Dr. Poet

and that she saw “no difference between the FDA approved Botox cosmetic drug and the Toxin

Research International (TRI) drug because the TRI drug was an ‘unapproved generic.’” Id.

Similarly, S/A Hess called patient Lois Dyer on August 10, 2006, and Dyer told S/A Hess that

Dr. Poet “bombarded her with facts” during her consultation and that she would have told Dr.

Poet to “go for it” if he thought the TRI product was the same as Allergan’s. Id. at ¶ 70, Exhibit

69. Patient Susan Erickson told S/A Hess on July 12, 2005 that Dr. Poet provided an “extensive

discussion” concerning the advantages and disadvantages of the treatments, as well as “possible

side effects.” Id. at ¶ 71, Exhibit 70 (Erickson Interview). Erickson said that Dr. Poet referred

“to the drug with which he was treating her as both Botox and Botulinum Toxin” and that “she

believes that FDA approval is not necessarily of vital importance for the safety of a particular

drug because there are many drugs which are not yet FDA approved in Europe and have FDA

approval pending.” Id. The Government failed to produce any of these interviews.

       Likewise, S/A Hess interviewed employees Heather Gifford, on August 9, 2006, and

Laurie Toth, on July 18, 2006, prior to their grand jury testimony. Id. at ¶¶ 71-72, Exhibits 70-

71. During these interviews, both employees stated that Dr. Poet indicated that the reason he

was using it was that it was “purer than Botox.” Id. Additionally, Toth stated that Poet said that

the TRI product was “in the FDA process for approval.” Id. This evidence tends to corroborate

a good faith defense (he was a victim of TRI’s fraud upon him) and negate state of the mind

element necessary for conviction, i.e., this is clear evidence that Dr. Poet never intended to

fraudulently deprive his patients of money, but rather his motivation for using the TRI product




                                               21
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 29 of 69 PageID: 693




was for superior results. Both of these employees subsequently testified in the grand jury, but

the Defense has not received either S/A Hess’ Memoranda of Interviews nor the grand jury

transcripts of potentially exculpatory information.

       So one might ask how the Defense has all of this exculpatory material if the Government

failed to produce it during discovery? The answer is that at least one Federal Prosecutor in the

U.S. Justice Department has determined that all of the documents mentioned herein which the

Government failed to produce in this case were materials subject to Brady. Hence, all of those

materials were produced as exculpatory materials in another case, along with at least 26

additional memoranda of interviews of individuals and patients in the instant case!

E.     Summary

       Having provided the Court with an extensive background on the substance, the other

prosecutions, the investigation, and the conduct of the Government in this case, the Defense must

now respectfully urge this Court to dismiss the indictment, with prejudice (and in the alternative

without prejudice), based upon numerous legal grounds. The Defense argues that, as a matter of

law, Counts One through Thirteen of the Indictment should be dismissed because the Congress

has proscribed the conduct depicted in the Indictment under the Food, Drug and Cosmetic Act,

and Counts alleging violations of 18 U.S.C. § 1341 are essentially duplicative of conduct the

Congress specifically addressed.      Second, it is also argued the Count must dismiss the

Indictment, because the term “Botox is generic as a matter of law, and the Indictment therefore

fails to state a claim. Additionally, the Defense submits that the Indictment must be dismissed

on the grounds of equitable estoppel. In the alternative, the Defense argues that the Indictment

must be dismissed at least without prejudice (but preferably with prejudice), for violation of due

process. In the event the Court disagrees with the Defense, it is submitted that the Defense is




                                                22
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 30 of 69 PageID: 694




entitled to an Order directing the Government to review all of its evidence, nationwide, and

produce all exculpatory evidence forthwith. Additionally, the Defense submits that it is entitled

to Grand Jury transcripts. Further, the Defense submits that it is entitled to an exclusion of all

Government witnesses interviewed by S/A Hess, and in the alternative, it is entitled to additional

depositions and discovery pursuant to Fed. R. Crim. P. 15 and 17, including a list of every

individual to whom the FDA and the Government sent a letter and who responded. In this

regard, the Defense believes that it is entitled to a Bill of Particulars. It is respectfully submitted

that the Defense is entitled to depositions and additional discovery under Fed. R. Crim. P. 15 and

17 of certain TRI former employees, certain physicians, and other individuals/corporations who

possess information critical to Defense. Also, the Defense submits that it is entitled to an

amendment of the Indictment to reflect Allergan Inc.’s true alleged mark, BOTOX®

COSMETIC. Finally, the Defense requests that the Court designate this case as a ‘complex

case” under the Speedy Trial Act and exclude additional time thereunder.

                                        LEGAL ANALYSIS

A.     Overview of the Charges

       1.      What is Not Charged

       It is important to note at the outset that there is no federal crime for utilizing a non-FDA

approved substance in the care and treatment of patients. The reason is simple: Congress never

intended the Food, Drug and Cosmetic Act to regulate the practice of medicine. See. United

States v. Algon Chemicals, Inc., 879 F.2d 1154, 1159-60 (3d Cir. 1989). Indeed, the FDA’s own

interpretation of the legislative history of the act supports this proposition:

       Throughout the debate leading to enactment [of the Act], there were repeated
       statements that Congress did not intend the Food and Drug Administration to
       interfere with medical practice and references to the understanding that the bill
       did not purport to regulate the practice of medicine as between the physician and



                                                  23
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 31 of 69 PageID: 695




       the patient. Congress recognized a patient's right to seek civil damages in the
       courts if there should be evidence of malpractice, and declined to provide any
       legislative restrictions upon the medical profession.

FDA Policy Statement, 37 Fed. Reg. at 16503 (emphasis added). As one former Chief Counsel

to the FDA has stated:

       Not only does the legislative history fail to show a Congressional intent that this
       be used to restrict the conditions for which physicians might prescribe drugs, but
       it flatly contradicts any such interpretation. In enacting the 1938 Act Congress
       clearly intended to avoid impinging on the practice of medicine.

Hutt, Regulation of the Practice of Medicine Under the Pure Food & Drug Laws, 33 A. of Food

& Drug Officials Q. Bull. 3, 7 & 9 (1969). There is also a common sense element to this

proposition: if there were a crime to utilize a non-FDA approved substance, the FDA would

undoubtedly charge Dr. Poet with it. The Food, Drug and Cosmetic Act, however, does regulate

the sale and flow of drugs, both approved and unapproved, in interstate commerce. In this

regard, Congress created a statutory scheme to empower the FDA to “enforcing its right under

the Act to control the supply of unapproved drugs in interstate commerce.” Algon, 879 F.2d at

1161. The end result of this Congressional enactment is that the “United States Food and Drug

Administration [is] the federal agency within the United States Department of Health and Human

Services charged with the responsibility of protecting the health and safety of the American

public by assuring that drugs are safe and effective for their intended uses before they may be

legally introduced into interstate commerce.” Indictment, at ¶ 2(a).

       2.      Mail Fraud

       Counts One through Thirteen of the Indictment allege that Dr. Poet committed mail

fraud, in violation of 18 U.S.C. § 1341.       Tracking the exact language of the statute, the

accusation alleges that Dr. Poet “did knowingly and willfully devise a scheme and artifice to

defraud . . . and to obtain money and other property by means of fraudulent pretenses,



                                               24
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 32 of 69 PageID: 696




representations, and promises, and for the purpose of executing such scheme and artifice

knowingly caused to be delivered by private and commercial interstate carrier according the

direction thereon, matters and things, as more fully described below.” Indictment, at ¶ 5.

Although the Indictment alleges several items which were parts of Dr. Poet’s “scheme and

artifice,” the real crux of the FDA’s fraud case is that Dr. Poet injected “fake Botox” into his

patients:

       It was further part of the scheme and artifice to defraud that defendant ALBERT
       POET injected many of the approximately 130 patients who sought Botox®
       treatments at his offices between January 1, 2004 and December 1, 2004 with
       Tritox.

Id. at ¶ 14 (emphasis added). The Indictment describes “Botox®” as “the brand name of a drug

derived from Botulinum Toxin Type A and for the treatment of certain muscle disorders of the

eye that was manufactured by Allergan, Inc, of Irvine, California.” Id. at ¶ 3(d). Each of counts

One through Thirteen represents each occasion that Chad Livdahl and his company, TRI, sent

vials of its BoNT/A to Dr. Poet through overnight carrier.

       3.      Felony Misbranding

       Count Fourteen alleges that Dr. Poet committed felony misbranding by offering TRI’s

BoNT/A as “Botox® and Botox® Cosmetic. . .” after it had been shipped in interstate

commerce. Id. at page 10. Misbranding is wholly a creature of the Food, Drug and Cosmetic

Act, 21 U.S.C. § 301, et. seq. The definition of misbranding referenced in the indictment appears

at 21 U.S.C. § 252(i):

       A drug or device shall be deemed to be misbranded—

                                              *****
       (i) (1) If it is a drug and its container is so made, formed, or filled as to be
       misleading; or (2) if it is an imitation of another drug; or (3) if it is offered for
       sale under the name of another drug.




                                                25
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 33 of 69 PageID: 697




Id. (emphasis added). The actual prohibition of misbranding is found in 21 U.S.C. § 333(k):

          The following acts and the causing thereof are prohibited:

                                                 *****
          (k) The alteration, mutilation, destruction, obliteration, or removal of the whole
          or any part of the labeling of, or the doing of any other act with respect to, a food,
          drug, device, or cosmetic, if such act is done while such article is held for sale
          (whether or not the first sale) after shipment in interstate commerce and results in
          such article being adulterated or misbranded.

Id. There is another important aspect to this charge: Congress fashioned a statutory scheme

such that varying degrees of criminal intent result in increased penalties. Under 21 U.S.C. §

333(a):

          (1) Any person who violates a provision of section 331 of this title shall be
          imprisoned for not more than one year or fined not more than $1,000, or both.

          (2) Notwithstanding the provisions of paragraph (1) of this section, if any person
          commits such a violation after a conviction of him under this section has become
          final, or commits such a violation with the intent to defraud or mislead, such
          person shall be imprisoned for not more than three years or fined not more than
          $10,000, or both.

Id. (emphasis added). Hence, it is clear Congress created a fraud statute specifically designed to

address the crime of fraud with respect to drugs regulated under the Food, Drug and Cosmetic

Act.

B.        POINT 1: Counts One through Thirteen Must be Dismissed Because the Congress
          has Determined that Fraud Crimes Involving Drugs Regulated by the FDA must be
          Prosecuted under the Food, Drug and Cosmetic Act, and the Supreme Court has
          Mandated that where Congress has Defined a Particular Crime, the Government
          cannot Proceed with Prosecution Under a Different Statute


          1.     Congress’ Legislative Scheme and its History

                 a.      The Pure Food and Drug Act of 1906

          The criminal portions of today’s Food, Drug and Cosmetic Act trace their roots to the

first Congressional Act regulating the interstate sale of medicinal treatments, the Pure Food and



                                                   26
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 34 of 69 PageID: 698




Drug Act of 1906, c. 3915, Pub. L. No. 59-384, 34 Stat. 768 (1906) (repealed 1938). Originally

a misbranding statute, the 1906 Act only regulated drugs by requiring that they be labeled

correctly in that they not be “misbranded.” Id. In defining “misbranding,” the Congress stated

that term applied:

       . . . to all drugs, or articles of food, . . . the package or label of which shall bear any
       statement, design, or device regarding such article, or the ingredients or substances
       contained therein which shall be false or misleading in any particular, and to any food
       or drug product which is falsely branded as to the State, Territory, or country in which it
       is manufactured or produced. . . . An article shall also be deemed to be misbranded: In
       case of drugs: First. If it be an imitation of or offered for sale under the name of
       another article. Second. [In case of a substitution of contents,] or if the package fail
       to bear a statement on the label of the quantity or proportion of any alcohol, morphine,
       opium, cocaine, heroin, alpha or beta eucaine, chloroform, cannabis indica, chloral
       hydrate, or acetanilide, or any derivative or preparation of any such substances contained
       therein.

Id. at § 8 (emphasis added).        Under Section 4 of the Act, Congress required that upon

determination that any article may be misbranded, “notice shall be given to the party from whom

the sample was obtained. Any party so notified shall be given an opportunity to be heard.” Id. at

§ 4. If the Secretary of Agriculture (then the primary regulatory agency) then determined that a

violation had occurred, it was required to then certify the results of the inquiry and forward the

matter to the U.S. Attorney’s Office. Id. at § 5. Finally, the actual enforcement provisions of the

1906 Act imposed a misdemeanor penalty for violations of the Act. Id. at § 2.

       Two points are worthy of note. First, the Supreme Court has noted that the Act’s

provision of an administrative hearing prior to presentation to the U.S. Attorney’s Office made

sense in that “the determination whether an article is misbranded is left to the Bureau of

Chemistry of the Department of Agriculture, which is most natural if the question concerns

ingredients and kind, but hardly so as to medical effects.” United States v. Johnson, 221 U.S.

488, 498 (1911). And second, as the Supreme Court noted, no regulatory agency at the time was




                                                   27
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 35 of 69 PageID: 699




equipped to address any claims or statements regarding the efficacy of any particular drug. Id.

Hence, the term “misbranding” could not apply to medicinal effects. Id.

               b.      The Food, Drug and Cosmetic Act of 1938

       The 1906 act was subsequently superseded by the Food, Drug and Cosmetic Act of 1938,

ch. 675, 52 Stat. 1040 (1938), now codified as 21 U.S.C. § 301 et. seq. Some of the major

components of the revisions included vesting the Food and Drug Administration – an agency

created in July 1930 from the Bureau of Chemistry – with the authority to “promote the public

health by promptly and efficiently reviewing clinical research and taking appropriate action on

the marketing of regulated products in a timely manner. . . .” 21 U.S.C. § 393(b)(2) (emphasis

added). The 1938 Act preserved the requirement that any person accused of misbranding under

the Act is entitled to a hearing before the Commissioner prior to any recommendation of

prosecution:

       Before any violation of this chapter is reported by the Secretary to any United
       States attorney for institution of a criminal proceeding, the person against whom
       such proceeding is contemplated shall be given appropriate notice and an
       opportunity to present his views, either orally or in writing, with regard to such
       contemplated proceeding.

21 U.S.C. § 335 (ch. 675, Sec. 305, 52 Stat. 1045 (1938)). Additionally, Section 2 of the 1906

Act was replaced by a new criminal provision which contained increased penalties based upon

the level of intent of the accused. 21 U.S.C. § 331(a) (June 25, 1938, ch. 675, Sec. 303, 52 Stat.

1043 (1938)). Under the general intent provisions, any person who violated the Act was subject

to a misdemeanor conviction. Id. (original subsection (a) of the Act). The Congress, however,

included a second tier which imposed a felony conviction of up to three years imprisonment for

individuals who “commit[] such a violation with the intent to defraud or mislead. . . .” Id.

(original subsection (b) of the Act).




                                               28
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 36 of 69 PageID: 700




       The legislative history of the amendments makes clear that it was Congress’ intent that

the FDA was to use the criminal penalty provisions to protect the consumer.            The House

Committee report stated that the Act “seeks to set up effective provisions against abuses of

consumer welfare growing out of inadequacies in the Food and Drugs Act of June 30, 1906.” H.

Rep. No. 2139, 75th Cong., 3rd Sess., at 1. Similarly, the Senate Committee emphasized that the

new law “must not weaken the existing laws. . . . [rather] . . . it must strengthen and extend that

law’s protection of the consumer.” S. Rep. No 152, 75th Cong, 1st Sess., at 1. To this end, the

Congress wanted to ensure that the criminal penalties were increased so as to prevent the civil

and criminal fines prescribed under the 1906 Act from becoming a cost of doing business. In the

House Committee’s own words, the legislation “increases substantially the criminal penalties . . .

which some manufacturers have regarded as substantially a license fee for the conduct of an

illegitimate business.” H. Rep. No. 2139, 75th Cong., 3d Sess., at 4. Hence, it is clear that in

enacting the Food, Drug and Cosmetic Act of 1938, the Congress expressed its clear intent to

protect the consumer from fraudulent practices relating to drugs through the new criminal

provisions of the Act.

               c.        Subsequent Revisions

       The criminal provisions of the Food and Drug Act of 1938 have been amended fifteen

times since the Act’s initial passage. See 21 U.S.C. § 331 (legislative history). In 1965, the

Act’s criminal provisions were amended to include increased penalties for depressants and

stimulants, and these penalties were increased further in 1968. Pub. L. 89-74, Sec. 7(a) (1965);

Pub. L. 90-639 (1968). The narcotics and stimulants provisions were thereafter excised in 1970

and transferred to what is now 21 U.S.C. § 801, et seq. Pub. L. 91-513 (1970). Most relevant,

however, is that Congress re-designated the second offense and fraud provisions into section (b)




                                                29
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 37 of 69 PageID: 701




in 1970, and re-designated them again into its current form in 1988. Pub. L. 91-513 (1970); Pub.

L. 100-293 (1988). The significance of this history is that the Congress had the ability to

amend the original 1938 Act, actually used that ability, but did not expand the purview of the

criminal portions to include the applicability of any other criminal statute under Title 18 to

address fraudulent conduct with respect to drugs regulated under the Act.

       2.      United States v. Dowling and its Progeny

               a.     Dowling

       The Supreme Court’s decision in Dowling v. United States, 473 U.S. 207 (1985), stands

for the propositions that: 1) criminal statutes are to be read narrowly and harshly against the

Government; and 2) the Government cannot utilize other criminal statutes to prosecute

particular conduct when the Congress has clearly spoken as to which criminal statutes (and

corresponding penalties) apply to that conduct. In Dowling, the defendants were convicted of

interstate transportation of stolen property, 18 U.S.C. § 2314, by manufacturing and shipping

“bootleg” copies of Elvis Presley recordings. Id. at 209-10. The defendants appealed, claiming

that their convictions were in error because the Congress required that their conduct be punished

under the copyright laws, 17 U.S.C. § 506, and not under 18 U.S.C. § 2314. Id. at 212. The

Ninth Circuit upheld the district court’s decision, 739 F.2d 1445 (9th Cir. 1984), but the Supreme

Court reversed the conviction.

       In so holding, the Court first noted that it is the Congress which defines the conduct that

constitutes federal crimes and prescribes the corresponding punishment. Id. at 213-14. As such,

when construing the boundaries of federal criminal statutes, the Court stated that the “Rule of

Lenity” applies. Id. at 213, 229. Specifically, the Court noted that “[d]ue respect for the

prerogatives of Congress in defining federal crimes prompts restraint in this area, where we




                                               30
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 38 of 69 PageID: 702




typically find a ‘narrow interpretation’ appropriate.” Id. at 213 (citing Williams v. United States,

471 U.S. 419, 424 (1985)). Quoting Chief Justice Marshall, the Court emphasized need to

strictly interpret federal criminal statutes:

        The rule that penal laws are to be construed strictly, is perhaps not much less old
        than construction itself. It is founded on the tenderness of the law for the rights of
        individuals; and on the plain principle that the power of punishment is vested in
        the legislative, not in the judicial department. It is the legislature, not the Court,
        which is to define a crime, and ordain its punishment.

Id. at 213-14 (quoting United States v. Wiltberger, 5 Wheat. 76, 95 (1820)).

        The Court then proceeded to note that the defendants’ conduct fit within the purview of

18 U.S.C. § 2314, “but awkwardly” so. Id. at 218. As a result, the Court stated that “when

interpreting a criminal statute that does not explicitly reach the conduct in question, we are

reluctant to base an expansive reading on inferences drawn from subjective and variable

‘understandings.’” Id. (quoting Williams, 458 U.S. at 286). The Court then proceeded to

examine the legislative history of the copyright laws. Id. at 221-22. Noting that Congress acted

with “exceeding caution” in fashioning criminal penalties for copyright, the Court concluded that

the resulting criminal statutes demonstrated that “Congress carefully calibrated the penalty to the

problem. . . .” Id. at 222. Accordingly, the Court stated that Congress’ intentional and specific

actions to define the conduct warranting punishment for copyright violations “provide a final and

dispositive factor against reading § 2314 in the manner suggested.” Id. at 226. As a result, the

Court reversed the convictions, stating:

        the deliberation with which Congress over the last decade has addressed the
        problem of copyright infringement for profit, as well as the precision with which
        it has chosen to apply criminal penalties in this area, demonstrates anew the
        wisdom of leaving it to the legislature to define crime and prescribe penalties.

 Id. at 228.




                                                 31
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 39 of 69 PageID: 703




                  b.   Subsequent Cases

       A district court in United States v. LaMacchia, 871 F. Supp. 535 (D. Mass. 1994)

subsequently applied Dowling to prohibit copyright infringement prosecutions under the wire

fraud and mail fraud statutes. In so holding, the court noted that the Government’s theory that

wire fraud and mail fraud were different than the statutes prohibiting interstate shipment of

stolen property would “produce the same pernicious result that Justice Blackmun warned of in

Dowling, of permitting the government to subvert the carefully calculated penalties of the

Copyright Act by selectively bringing some prosecutions under the more generous penalties of

the mail and wire fraud statutes.” Id. at 544 (emphasis added).

       Two other district courts, both in the Third Circuit, cited Dowling as additional

justification for dismissing charges. In United States v. Brooks, 945 F. Supp. 830 (E.D.Pa.

1996), District Judge Cahn dismissed an indictment against the defendant which charged him

with four counts of copyright infringement and one count making of false statements, in

violation of 18 U.S.C. § 1001. Although the court dismissed the indictment on other grounds,

the judge stated that Dowling provided additional justification for dismissing the false statements

count. Id. at 834, n.9. Specifically, the Judge stated that Section 1001 was “broad and general,”

and Dowling underscored the necessity of honoring Congressional intent when the Congress acts

with precision:

       In light of the Supreme Court’s language in Dowling about the uniqueness of
       copyright and the care with which Congress drafted the criminal provisions of the
       Copyright Act, this Court does not see how the Government can proceed against
       Brooks under both § 1001 and the Copyright Act.

Id. As a result, the Court stated that “[t]his is in essence a copyright infringement action, and

the government must proceed within the limits of the criminal provisions of the Copyright Act

as drafted by Congress.” Id. (emphasis added).



                                                32
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 40 of 69 PageID: 704




       In United States v. Alsugair, 256 F. Supp.2d 306 (D. NJ 2003), then Judge Orlofsky

found that the counts in an indictment charging the defendant of mail fraud were defective

because they failed to adequately describe copyright infringement. Id. at 315. In so holding, the

court noted, with approval, that it was doubtful that any copyright infringement claims could be

alleged under mail fraud because of the decisions in Dowling and LaMaccia. Id. at 315, n. 10.

“Otherwise, the Government could punish a defendant for a copyright violation under the mail-

fraud statute when the violation would not constitute criminal conduct under the Copyright Act.”

Id.

       3.       Dowling’s Applicability to Misbranding and the Instant Case

       In the instant case, it is clear that the Congress intended to establish a statutory scheme to

address the exact conduct charged by the Indictment in the instant case. Indeed, 21 U.S.C. §§

331, 333, 252 and 253 cover every possible manner in which a drug may be misbranded and

dispensed to a patient, be it by mail, common carrier or by personal delivery. In fact, it is

apparent that the original 1906 Act was established in response to a Supreme Court holding that

the Postmaster General’s mail fraud statutes could not address the claims and representations

made in medicinal advertisements in postal mailings. American School of Magnetic Healing v.

McAnnulty, 187 U.S. 94 (1902). In that case, the Postmaster General, on the basis of the

original mail fraud statutes, refused to deliver certain advertisements relating to efficacy of

electromagnetic treatments. Id. at 103-04. In holding that the Postmaster General did not have

the statutory authority to make decisions relating to the efficacy of medicinal treatments, the

Court stated:

       As to the effectiveness of almost any particular method of treatment of disease is,
       to a more or less extent, a fruitful source of difference of opinion, even though the
       great majority may be of one way of thinking, the efficacy of any special method




                                                33
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 41 of 69 PageID: 705




       is certainly not a matter for the decision of the Postmaster General within these
       statutes relative to fraud.

Id. at 105 (emphasis added). Accordingly, the Court held that the Postmaster General’s action of

utilizing the mail fraud statutes to refuse to deliver certain medicinal advertisements was “not

one which by any construction of those facts is covered or provided for by the statutes under

which the Postmaster General has assumed to act. . . .” Id. at 109-10.

       Congress enacted the Pure Food and Drug Act of 1906 in response to this case and the

ineffectiveness of the other statutes to address fraudulent claims in medicinal treatments. In so

doing, the Congress included, in the original act, provisions imposing criminal penalties for

shipment or delivery for shipment, of misbranded articles between states. c. 3915, Pub. L. No.

59-384, 34 Stat. 768, § 2 (1906) (repealed 1938). It is important to note that this section

demonstrates Congress’ intent to address the conduct of not only the physical transportation of

misbranded goods by the offender, but also the interstate shipment of misbranded goods by

common, private, carrier:

       Sec. 2. That introduction into any State . . .from any other State . . . of any article
       of food or drugs which is adulterated or misbranded, within the meaning of this
       Act, is hereby prohibited; and any person who shall ship or deliver for shipment
       from any State . . . to any other State . . . or who shall receive in any State . . . and
       having so received shall deliver, in unbroken packages, for pay or otherwise, or
       offer to deliver to any other person, any such article so adulterated or misbranded
       within the meaning of this Act . . . shall be guilty of a misdemeanor. . .

Id. (emphasis added). Indeed, the Supreme Court has acknowledged Congress’ intent in the

1906 Act to place the onus of criminal “risk on shippers with regard to the identity of their

wares.” United States v. Johnson, 221 U.S. 488, 497-98 (1911). By contrast, the revisions of the

original mail fraud statutes in 1909 did not include any provision for either drugs – in response to

the Supreme Court’s decision – or for the application of the act to private commercial carriers.

(Mar. 4, 1909, ch. 321, Sec. 215, 35 Stat. 1130). In fact, it was not until 1994 that Congress saw



                                                  34
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 42 of 69 PageID: 706




fit to include private commercial carriers in the language of the mail fraud statute. See 18 U.S.C.

§ 1341 (statutory history detailing 1994 amendments).

         Congress’ intent to address conduct relating to misbranded drugs under Title 21 is further

underscored by the 1938 amendments, which retained the provisions relating to interstate

shipment by common (private) carrier, 21 U.S.C. § 331(c), but also broadened the Act’s

application to the receipt, delivery, and sale of misbranded and counterfeit drugs generally. 4

United States v. Dotterweich, 320 U.S. 277, 280 (1943) (“By the Act of 1938, Congress

extended the range of its control over illicit and noxious articles and stiffened the penalties for

disobedience.”). Congress also retained former Section 4 of the 1906 Act, which required an

administrative hearing before the Secretary recommended any criminal prosecutions under Act.

21 U.S.C. § 335. Hence, not only did Congress prescribe the penalty, it also prescribed the

means by which it wanted the Act enforced. Johnson, 221 U.S. at 498 (Noting that Section 4 of

the Act requires a misbranding determination by the Bureau of Chemistry, “which is most

natural”.). In this regard, Congress’ statutory scheme left it to the FDA, and not the U.S.

Attorney or the U.S. Postal Service, to determine whether a drug was misbranded, and Congress

gave the FDA very specific criminal tools and procedures to use in enforcing the Act.

         Most relevant, however, is that Congress broadened the ambit of § 331(k) – the sub-

paragraph with which the defendant has been charged – by making it unlawful to sell a

misbranded drug “after shipment in interstate commerce”. 21 U.S.C. § 331(k). The Congress

did not use the words transportation, travel, or receipt. Rather, they used a term which has

always been associated with the use of private commercial carriers, shipment. See Sproles v.


4
 Congress’ intent to address most criminal violations relating to drugs under Title 21 rather than Title 18 is further
demonstrated by Congress’ addition of paragraph (q) in 1976 and paragraph (w) in 1996, which made it a crime to
make certain false statements to the FDA, an executive agency. 21 U.S.C. § 331 (legislative history). These crimes
are already covered under 18 U.S.C. § 1001.


                                                         35
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 43 of 69 PageID: 707




Binford, 286 U.S. 374, 393 (1932) ( holding that "’common carrier receiving or loading points,’

and the unloading points, described, seem quite clearly to be points at which common carriers

customarily receive shipments, of the sort that may be involved, for transportation, or points at

which common carriers customarily unload such shipments.”). Hence, it is clear that the

fraudulent misbranding charge under Count 14 of the Indictment requires the Government to

prove, in addition to fraudulent intent, a “shipment” be made by common carrier, and then an

offering of sale (for money) a drug which contains a false statement.

        In this regard, it is then apparent that the elements for Counts One through Thirteen

of the Indictment – Fraud and Swindles Through Use of Interstate Carrier in violation of 18

U.S.C. § 1341 – are identical and duplicative (i.e. double jeopardy) to those of misbranding

under Title 21.5 Blockburger v. United States, 284 U.S. 299, 304 (1932) ("Where the same act

or transaction constitutes a violation of two distinct statutory provisions, the test to be applied to

determine whether there are two offenses or only one is whether each provision requires proof of

a fact which the other does not."); see also United States v. Hodge, 211 F.3d 74, 78 (3d Cir.

2000) ("To determine whether the offenses grow out of the same occurrence, we apply the test

set forth in Blockburger."). Indeed – as a practical matter – the Government must necessarily

turn to the results of the FDA process of drug approval to demonstrate the veracity, or falsity, of

Dr. Poet’s representations to his patients – a process that did not exist prior to 1906. See

McAnnulty, 187 U.S. 94 (1902). Given, 1) the legislative history demonstrating that Congress

has “carefully calibrated the penalty to the problem,” 473 U.S. at 222; 2) the Supreme Court

precedents both before and after the 1906 Act; and, 3) the fact that the elements under the Title

21 and Title 18 crimes are now identical, Dowling requires that this Court invoke the “’time-


5
          The Government need prove no additional fact to obtain a conviction under 18 U.S.C. § 1341 once it has
satisfied its burden under 21 U.S.C. §§ 331(k), 333(a)(2) and 252(i).


                                                        36
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 44 of 69 PageID: 708




honored interpretive guideline’ that “ambiguity concerning the ambit of criminal statutes should

be resolved in favor of lenity. . . .” Dowling, 473 U.S. at 229 (wuoting Liparota v. United States,

471 U.S. at 427)).

       Accordingly, it is respectfully submitted that Counts One through Thirteen must be

dismissed with prejudice because the Congress has specifically defined the conduct constituting

the crime under 21 U.S.C. §§ 331, 333 and 252.

C.     POINT 2: The Court Must Dismiss The Indictment Because the Term “Botox” is
       Generic as a Matter of Law, and the Government Cannot Prove Fraud through the
       Use of the Generic Term

       The starting point for the analysis is the Food, Drug and Cosmetic Act itself, which

clearly indicates Congress’ intent that the Act should not trump the Trademark laws. Indeed, in

21 U.S.C. § 358, Congress gave the FDA the ability to designate the official names for approved

drugs. This same statute, however, limits the FDA’s powers by prohibiting the FDA from

designating a name which has trademark protection. “In no event, however, shall the Secretary

establish an official name so as to infringe a valid trademark.” 21 U.S.C. § 358(a). With this

background, the trademark laws clearly demonstrate that the term “Botox” is generic, therefore

rendering Allergan, Inc.’s registration as invalid – and Dr. Poet’s use of the word entirely legal.

       1.      Trademark Law and Genericness

               a.      Trademark Statutes

       Under 15 U.S.C. § 1052(e)(5), no trademark can issue, under any circumstances, for any

mark which “comprises any matter that, as a whole, is functional.” This is also known as

“genericness.” Congress’ intent to refuse trademark protection on generic marks is also seen in

15 U.S.C. § 1065, which generally declares registered trademarks incontestable after five years,

except “no incontestable right shall be acquired in a mark which is the generic name for the




                                                 37
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 45 of 69 PageID: 709




goods or services or a portion thereof, for which it is registered.” 15 U.S.C. § 1065(4). In the

words of Judge Friendly:

       A generic term is one that refers, or has come to be understood as referring, to the
       genus of which the particular product is a species. At common law neither those
       terms which were generic nor those which were merely descriptive could become
       valid trademarks, see Delaware & Hudson Canal Co. v. Clark, 80 U.S. (13 Wall.)
       311, 323, 20 L. Ed. 581 (1872) ("Nor can a generic name, or a name merely
       descriptive of an article or its qualities, ingredients, or characteristics, be
       employed as a trademark and the exclusive use of it be entitled to legal
       protection").

Abercrombie & Fitch Co. v. Hunting World, Inc., 537 F.2d 4, 9 (2nd Cir. 1976); see also, Park ‘n

Fly v. Dollar Park and Fly, Inc., 469 U.S. 189, 194 (1985) (adopting definition of “generic”). As

demonstrated by the Act itself, “no matter how much money and effort the user of a generic term

has poured into promoting the sale of its merchandise and what success it has achieved in

securing public identification, it cannot deprive competing manufacturers of the product of the

right to call an article by its name.” Id. Accordingly, under no circumstances may a generic

term be trademarked.

       Congress placed the onus on trademark applicants to demonstrate why their mark is

unique by requiring them to provide the Commissioner of Trademark with all of the information

necessary for the U.S. Patent and Trademark Office, and not the applicant, to make the

determination of protectability. In this regard, 15 U.S.C. § 1051 requires the applicant to make a

statement to the Commissioner of Trademark, under oath, concerning the use of the mark prior

to the application:

       (3) The statement shall be verified by the applicant and specify that—

               (A) the person making the verification believes that he or she, or the juristic
                   person in whose behalf he or she makes the verification, to be the owner of
                   the mark sought to be registered;
               (B) to the best of the verifier's knowledge and belief, the facts recited in the
                   application are accurate;
               (C) the mark is in use in commerce; and



                                                  38
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 46 of 69 PageID: 710



               (D) to the best of the verifier's knowledge and belief, no other person has the
                   right to use such mark in commerce either in the identical form thereof or in
                   such near resemblance thereto as to be likely, when used on or in connection
                   with the goods of such other person, to cause confusion, or to cause mistake,
                   or to deceive, except that, in the case of every application claiming
                   concurrent use, the applicant shall—
                   (i) state exceptions to the claim of exclusive use; and
                   (ii) shall specify, to the extent of the verifier's knowledge--
                        (I) any concurrent use by others;
                        (II) the goods on or in connection with which and the areas in
                              which each concurrent use exists;
                        (III) the periods of each use; and
                        (IV) the goods and area for which the applicant desires registration.

15 U.S.C. § 1051(a)(3).

               b.      A Mark can Become Generic After Registration

       It is also important to note that even if a mark is not generic prior to registration, it can

nonetheless become generic after its registration, thus voiding its protection and registration. In

the seminal case Singer Mfg. Co. v. June Mfg. Co., 163 U.S. 169 (1896), the Supreme Court held

that Singer’s actions of associating its name with a sewing machine rendered the mark “Singer”

generic after the patent on the machine had expired, thus permitting competitors a limited right to

use “Singer” in the advertisements of their products.           This decision eventually applied to

trademark law, where Learned Hand held that Beyer’s own conduct rendered its trademark on

“Aspirin” invalid as to consumers for genericness:

       . . . when, as here among consumers, a mark does not give even an intimation of
       the owner, there is no room at all for any protection. . . . . After all presumptions
       and other procedural advantages have been weighed, the owner must show that
       his mark means him, else he cannot prevent others from using it.

Beyer Co. v. United Drug Co., 272 F. 505, 513 (S.D.N.Y 1921); see also, Am. Thermos Products

Co. v. Aladdin Industries, Inc., 207 F. Supp 9 (D. Conn. 1962) (invalidating the trademark on

“Thermos” because of genericness). At the crux of the issue is how the general consuming

public views the term and whether there are alternative means to describe the product or service.




                                                  39
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 47 of 69 PageID: 711




A.J. Canfield Co. v. Honickman, 808 F.2d 291, 305-06 (3rd Cir. 1986); Genessee Brewing Co. v.

Stroh brewing Co., 124 F.3d 137, 144 (2nd Cir. 1997).

       In this regard, a district court in the Southern District of New York invalidated the

trademark on “Pilates” in 2000 for genericness. Pilates, Inc. v. Current Concepts, Inc., 120 F.

Supp.2d 286 (S.D.N.Y. 2000). In so doing, the court outlined in great detail the types of

evidence to be considered in determining whether a mark is generic: “(1) dictionary definitions;

(2) generic use of the term by competitors and other persons in the trade; (3) [the trademark

registrant’s] own generic use; (4) generic use in the media; and (5) consumer surveys.” Id. at

297. These factors prove significant in the instant case.

       2.      The Term Botox was Generic Before Allergan, Inc. Applied for its Registration

               a.      Allergan, Inc.’s Registration and Prior Generic Use

       As demonstrated by Exhibits 13 through 30 attached to the Certification of William J.

Hughes, Jr., the term “Botox” was used as a generic contraction for Botulinum Toxin long before

Allergan, Inc. applied for its trademark. In each of these articles, “Botox”, “BOTOX” and

“BoTox” is used to denote generic botulism toxin. In fact, one article submitted for publication

in August 1990 detailing the results of a study mentions the name of the company from whom

the “BOTOX” was obtained, Oculinum Inc.. Hughes Cert., at ¶ 25, Exhibit 24. Further, the

American Academy of Otolarynology-Head and Neck Surgery approved the use of “Botox” in

July 1990 for the use in head and neck dystonias – a year and a half before Allergan, Inc. applied

for the mark and three months before Allergan swore it was first used. Id. at ¶ 24, Exhibit 23.

       The significance of these articles, which are the result of limited research, is twofold.

First, Allergan, Inc. submitted applications for the registration of the BOTOX trademark in 1991

and 1992 indicating, under oath, that the first use of BOTOX was in September 1990. Id. at ¶¶




                                                40
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 48 of 69 PageID: 712




34-35, Exhibits 33 and 34.            The medical journal articles, many of which are authored by

physicians who subsequently became Allergan, Inc. researchers and employees, show otherwise.

As a result, it is evident that Allergan, Inc.’s trademark on BOTOX is invalid and unenforceable.

Medinol Ltd. v. Neuro Vasx, Inc., 67 U.S.P.Q.2d 1205, 1209 (T.T.A.B. 2003) (“A trademark

applicant commits fraud in procuring a registration when it makes material representations which

it knows or should know to be false or misleading.”); Metro Traffic Control, Inc. v. Shadow

Network, Inc., 104 F.3d 336, 340 (Fed. Cir. 1997). The rationale is simple, it is up to the PTO,

and not the applicant, to determine whether a mark is protectable or generic. The second impact

is that, aside from Allergan, Inc.’s untrue statements to the U.S. PTO, the prior generic use of the

term Botox renders the trademark invalid as a matter of law. See Pilates, Inc., 120 F. Supp.2d

286; Beyer, 272 F. 505, 513; Metro Traffic, 104 F.3d at 339 (prior use grounds for invalidating

trademark).

                  b.       Application to the Instant Case

         It is respectfully submitted that the genericness of the term Botox renders the trademark

invalid as a matter of law. As a result, Dr. Poet was, and is, free to use the term in its generic

sense. As Paragraph 4(b) of the Indictment concedes, Dr. Poet utilized a product that contained

Botulinum Toxin Type A. By utilizing the term generic Botox to denote Botulinum Toxin Type

A, Dr. Poet could only have defrauded his patients if the substance he provided to his patients

did not contain any BoNT/A. 6              The Indictment does not allege this.               Accordingly, by the



6
          Certainly the Government will argue that the issue is what Dr. Poet’s patients believed they were receiving.
This is an incorrect analysis because if Dr. Poet was legally able to utilize the term Botox to refer to Botulinum
Toxin, then his usage of that term in that sense cannot form the basis of any fraud prosecution so long as BoNT/A
was used. In this regard, it is state law, not federal law, which governs a doctor’s duty to inform his patients, and in
New Jersey, there is no duty to inform a patient of the FDA status of a particular drug or device if the physician
believes that such drug or device has obtained some level of FDA approval. Blazoski v. Cook, 346 N.J. Super. 256,
273 (App. Div. 2002) (“We hold that defendant was not required to disclose to plaintiff the FDA investigational
status of pedicle screws. . . .”).


                                                          41
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 49 of 69 PageID: 713




Indictment’s own terms, the Government cannot present any fact or sets of facts which could

result in a conviction under the statutes charged.

       Accordingly, it is respectfully submitted that the Court must dismiss the Indictment, with

prejudice, in its entirety. Certainly, this is an extreme remedy, but the meaning of the term

Botox is a central issue in this case. If the term is generic as a matter of law, it has direct

implications on the legality of Dr. Poet’s alleged representations. As such, the Defense is

prepared to present expert witnesses in the field of trademark law and the procedure of the U.S.

PTO should the court require a factual hearing on this issue prior to dismissing the Indictment

with prejudice.

       3.         The Term “Botox” has become Generic

       As with the terms Thermos, Aspirin, Elevator and Escalator, it is respectfully submitted

that, even if the Court were to find Botox non-generic at the time of the trademark application, it

has since become generic in the American lexicon. Accordingly, it is respectfully submitted that,

in the alternative of dismissing the Indictment for prior genericness, the Court should hold a

hearing to determine whether the term “Botox” has become generic since its registration. The

touchstone of the analysis, even in this case, is not what any particular consumer thought he or

she was receiving, but the legality of using a term that has become generic in the popular sense:

       The crux of this controversy, however, lies not in the use of the word to these
       buyers, but to the general consuming public, composed of all sorts of buyers from
       those somewhat acquainted with pharmaceutical terms to those who knew nothing
       of them. The only reasonable inference from the evidence is that these did not
       understand by the word anything more than a kind of drug to which for one
       reason or another they had become habituated.

Beyer, 207 F. Supp. at 510. As such, it is respectfully submitted that, as admitted in ¶ 14 of the

Indictment, Dr. Poet’s patients sought, and received “Botox[] treatments” in the actual, and legal,




                                                 42
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 50 of 69 PageID: 714




sense. This is consistent with, not only the prior generic use, but also the generic meaning that

has attached to the word Botox since the time of Allergan, Inc.’s registration of the mark.

       In this regard, a trademark case recently settled in the U.S. District Court for the District

of Utah which addressed the very issues before this Court. Klein Becker, Inc. v. Allergan, Inc.,

Docket No. 2:03-cv-00514 (D. Ut. filed June 2, 2003). Two experts, Professors Michael Kamins

and Marita Sturken, prepared and submitted expert reports in that case on behalf of Klein Becker

which directly address the genericness of the term Botox. Professor Sturken’s report addresses

how Americans use the term “Botox” in everyday speech, and Professor Kamins’ report provides

an analysis of the consuming public’s understanding of the term “Botox” based upon extensive

surveys. Both of these reports were supplied to Allergan, Inc. as part of discovery in that case.

Unfortunately, although both professors have agreed to testify as experts in the instant case, they

have declined to make these reports available, or to discuss their contents, because of a

confidentiality agreement in the litigation.

       The defense needs these reports in order to mount an effective defense in any hearing

concerning genericness and in any subsequent trial.       As they were part of the record in a

litigation, it is respectfully submitted that the defense is entitled to these reports under Fed. R.

Crim. P. 17 (because they cannot be obtained under Rule 16 discovery and they are required

pretrial to prepare Dr. Poet’s Defense). As such, the Court should issue an Order allowing the

Defense to subpoena Klein Becker, Inc. for the reports and the backup documentation which are

necessary to prepare for trial.

       Accordingly, if the Court were to refuse to dismiss the Indictment because of prior

genericness, it is respectfully submitted it should permit a hearing on current genericness and




                                                43
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 51 of 69 PageID: 715




allow the Defense to subpoena Klein Becker, Inc. under Rule 17 for documents necessary for

pretrial preparation and not otherwise available.

D.         POINT 3: The Indictment Must be Dismissed on the Grounds of Judicial Estoppel
           Because the Government Took an Inconsistent Position in a Prior Proceeding and
           Prevailed on that Position

           In the Florida case, the Government sought, and obtained, an Injunction based upon the

fact that Dr. Livdahl and his company, TRI, was committing fraud against the individuals 7 to

whom he was advertising his product because the product that he sold was misbranded in

violation of 21 U.S.C. §§ 331(a) and 252(f).                     The significance of this is two-fold.   The

Government first alleged that individuals who were receiving promotions and advertisements

and being educated were being misled into believing that the TRI product was FDA approved for

human use. Hughes Cert., at ¶ 9, Exhibit 8 (FDA Complaint, at page 23). By the Government’s

own admission, only physicians and surgeons were being sent promotions and advertisements,

and only physicians and surgeons were being educated on the TRI product. Id. Hence, when the

Government prevailed on its injunctive relief application based upon its extensive evidence

provided to the District Court showing that the physicians and surgeons, like Dr. Poet, were

fraud victims, it is now precluded from suggesting to this Court that Dr. Poet is an offender in

this case based on the same evidence. It is simply disingenuous and reeks of unfairness. This is

particularly so since the Government alleged in the Florida case that the same items that were

shipped to Dr. Poet had been misbranded before they ever entered into the stream of

commerce. Id., at ¶ 42, Exhibit 41 (Government Brief, at pages 5 – 18) (detailing why the TRI

product was misbranded prior to introduction into interstate commerce). The Government now

alleges that Dr. Poet misbranded the TRI product after it had been shipped in interstate

commerce.
7
    i.e., Dr. Poet and thousands of other physicians and surgeons.


                                                           44
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 52 of 69 PageID: 716




       As the Third Circuit has noted, the Doctrine of Judicial Estoppel is designed to prevent

litigants from playing fast and loose with the courts. Park v. United States, 2006 U.S. App.

LEXIS 32048, at * 18 (3rd Cir. December 29, 2006) (quoting In re Chambers Dev. Co., 148 F.3d

214, 229 (3rd Cir. 1998)).     When applied, it prevents “a litigant from asserting a position

inconsistent with one that she has previously asserted in the same or in a previous proceeding.”

Id. It can, and has, been applied against the Government in criminal proceedings. See Beem v.

McKune, 317 F.3d 1175, 1185 (10th Cir. 2003) (providing examples and cites of the doctrine’s

application in criminal cases because it “should be universally available. . . .”). In order for

Judicial Estoppel to attach, the Supreme Court has stated that several factors are relevant:

       First, a party's later position must be clearly inconsistent with its earlier
       position. Second, courts regularly inquire whether the party has succeeded in
       persuading a court to accept that party's earlier position, so that judicial
       acceptance of an inconsistent position in a later proceeding would create the
       perception that either the first or the second court was misled. Absent success in
       a prior proceeding, a party's later inconsistent position introduces no risk of
       inconsistent court determinations, and thus poses little threat to judicial integrity.
       A third consideration is whether the party seeking to assert an inconsistent
       position would derive an unfair advantage or impose an unfair detriment on the
       opposing party if not estopped.

New Hampshire v. Maine, 532 U.S. 742, 750-751 (2001) (emphasis added).

       It is respectfully submitted that the doctrine should apply to the case at bar. First, the

Government took an inconsistent position in the Florida case with respect to the status of the

physicians to whom TRI was marketing its product and the fact that the TRI product was

misbranded prior to its introduction into interstate commerce. It then prevailed on that position.

Now, after having convinced the Florida District Court that physicians like Dr. Poet need to be

protected from Chad Livdahl’s misrepresentations concerning the misbranded TRI product, it

now seeks to punish Dr. Poet for falling victim to that exact conduct by misbranding an

already misbranded product. It is unfair, unjust, and will result in a clearly inconsistent legal



                                                45
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 53 of 69 PageID: 717




outcome should Dr. Poet be convicted. The prejudice and unfair detriment to him is readily

apparent. Accordingly, it is respectfully submitted that the Court should dismiss the Indictment,

with prejudice, in its entirety.

E.      POINT 4: The Court Should Dismiss the Indictment without Prejudice Because of
        the FDA’s and the Government’s Due Process Violations with Respect to Failure to
        Provide an Administrative Hearing and Failure to Provide Exculpatory Materials

        There are two separate grounds upon which the Court may dismiss the Indictment

without prejudice. Viewed as a whole, however, they form strong basis to require the FDA and

the Government to comply with federal law by seeking an indictment anew.

        1.      The Indictment Must be Dismissed without Prejudice for Failure to Provide Dr.
                Poet with an Administrative Hearing Required Under the Food, Drug and
                Cosmetic Act.

        As explained supra, Congress retained the administrative hearing requirement prior to

reporting violations to the U.S. Attorney in the 1938 Act.          21 U.S.C. § 335.       Under this

provision, “[b]efore any violation of this chapter is reported by the Secretary to any United States

attorney for institution of a criminal proceeding, the person against whom such proceeding is

contemplated shall be given appropriate notice and an opportunity to present his views, either

orally or in writing, with regard to such contemplated proceeding.” Id. (emphasis added). This

is not a Congressional recommendation, nor is it a discretionary proceeding. Congress used the

term “shall,” and that confers a right. Indeed, Congress expounded on what it intended under §

335 in 1968 by including a definition of “informal hearing” in 21 U.S.C. § 321(x). This section

is quite precise, in that it requires a presiding officer and a level of procedure to be followed. Id.

        The Commissioner of the U.S. Department of Health and Human Services then

promulgated regulations in 1979 regarding when the notice is to be given, how the notice is to be




                                                  46
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 54 of 69 PageID: 718




served, and the procedure employed before, during and after the informal hearing. 21 C.F.R. §§

7.84 – 7.87. Like the statute, the regulations confer a right by speaking in mandatory terms:

       A person against whom criminal prosecution under the Federal Food, Drug, and
       Cosmetic Act is contemplated by the Commissioner of Food and Drugs shall be given
       appropriate notice and an opportunity to present information and views to show cause
       why criminal prosecution should not be recommended to a United States attorney.

21 C.F.R. § 7.84(a)(1) (emphasis added). Unlike the statute, however, the regulations conferred

some level of discretion upon the Secretary to refuse to provide such an informal hearing. 21

C.F.R. § 7.84(a)(2) and (3). One exception relates to the fear of destruction of evidence and risk

of flight, and the other exception applies if the commissioner “contemplates further investigation

by the Department of Justice.” Id. (emphasis added). Neither of these exceptions apply because

there is no evidence, on the record or otherwise, that Dr. Poet eliminated evidence or posed a risk

of flight. Further, as S/A Hess’ Memoranda of Interviews show, it was always the FDA, and not

the Department of Justice, conducting this investigation. Finally, the regulations require that any

informal hearing include any additional charges relating to the conduct, even if no hearing is

required under the Food, Drug and Cosmetic Act:

       If an apparent violation of the Federal Food, Drug, and Cosmetic Act also
       constitutes a violation of any other Federal statute(s), and the Commissioner
       contemplates recommending prosecution under such other statute(s) as well, the
       notice of opportunity to present views will include all violations.

21 C.F.R. § 784(c) (emphasis added).

       Quite simply, Congress conferred a right to a hearing. The FDA never gave Dr. Poet the

opportunity to express his views prior to its recommendation to indict him, and he is entitled to

such a hearing.

       It must be noted that the Supreme Court held in a 1943 case that the informal hearing “is

not a prerequisite to prosecution.” Dotterweich, 320 U.S. at 279. This holding, which comprises

two sentences of a fifteen page opinion, merely upheld a 1911 Court decision finding that the


                                                47
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 55 of 69 PageID: 719




failure to provide an informal hearing under section 4 of the 1906 Act was not a jurisdictional

issue. United States v. Morgan, 222 U.S. 274, 280 (1911). These cases are distinguishable from

the case at bar because of the facts and because of the relief sought.8

         First, and foremost, the defendants in both Dotterweich and Morgan were convicted of

misbranding after a trial, and they sought to overturn their convictions based upon the failure of

FDA to provide them with an informal hearing. Such is not the case here, as Dr. Poet seeks to

avail himself of the right to his hearing prior to any finding of guilt. It is respectfully submitted

that an un-convicted defendant stands in very different shoes than a defendant who has stood

trial and been found guilty.

         Second, and most important, the Defense does not seek to bar prosecution or to make his

arguments on jurisdictional grounds.                 Rather, the FDA’s failure in an investigation and

prosecution it initiated constitutes an abrogation of Dr. Poet’s right to due process, thus allowing

the Court great leeway to fashion relief. Since the time Dotterweich, the state of due process law

has evolved such that the Court now requires district courts to enforce rights conferred by statute

and, sometimes, by regulation. In United States v. Caceres, 440 U.S. 741 (1979), the Court

reversed a suppression order relating to undercover tape recordings of the defendant that were

made in violation of the internal policies of the IRS. In so holding, the Court noted that the

undercover recordings did not violate the Constitution or any statute, and that the IRS “was not

required by the Constitution or by statute to adopt any particular procedures or rules before

engaging in consensual monitoring and recording.” Id. at 749.



8
          Certainly there are cases citing Dotterwich and Morgan as justification for refusal to grant relief. See, e.g.,
Kent v. Benson, 945 F.2d 372 (11th Cir. 1991); United States v . Prigmore, 243 F.3d 1 (1st Cir. 2001). In these
cases, however, the issue before the Court was whether the statute is jurisdictional, which the Defense does not
dispute here. Rather, the Defense’s argument sounds in due process based upon administrative failure to provide a
statutorily mandated hearing in an investigation initiated by the FDA. This issue, we submit, has never been
raised.


                                                           48
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 56 of 69 PageID: 720




       The Court, however, contrasted the absence of a statutory duty in Caceres with the

presence of such a duty in Bridges v. Wixon, 326 U.S. 135, 152-53 (1945), where the INS

violated a regulation specifically designed to provide deportable aliens due process. Id. In so

holding, the Court cautioned district courts as to when their duty is required:

       A court’s duty to enforce an agency regulation is most evident when compliance
       with that regulation is mandated by the Constitution or federal law.

Id. (emphasis added). Known as the “Caceres Doctrine,” this was merely a reiteration of long-

standing Supreme Court precedent requiring executive agencies to follow their own rules and the

laws passed by Congress. As stated in Morgan v. Ruiz, 415 U.S. 199, 235 (1974):

       Where rights of individuals are affected, it is incumbent upon agencies to follow
       their own procedures. This is so even where the internal procedures are possibly
       more rigorous that otherwise would be required.

Id. The Third Circuit, in applying the Caceres Doctrine, has held that “the Due Process Clause

is implicated only when an agency violates regulations mandated by the Constitution or by law. .

. .” Tolchin v. The Supreme Court of the State of New Jersey, 111 F.3d 1099, 1115 (3rd Cir.

1997) (emphasis added).

       It is respectfully submitted that Congress intended to insert additional safeguards into

prosecutions – like this one – initiated by the FDA because the issue of whether a drug is

misbranded is so technical, Congress intended to leave the decision of whether criminal

prosecution was warranted with those in the FDA who are best able to make that determination.

See Johnson, 221 U.S. at 498. This argument does not suggest that the U.S. Attorney Office

does not have the right, on its own, to initiate investigations. Long-standing jurisprudence holds

that it does. Where, however, the FDA initiates the investigation, conducts the investigation, and

then recommends to the U.S. Attorney that the issue be presented to the grand jury, it is




                                                 49
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 57 of 69 PageID: 721




respectfully urged that the FDA must follow the plain language of the law which requires a

hearing before the recommendation.

        Here, the FDA failed to provide the opportunity for a hearing. Given the other infirmities

in the FDA’s investigation and provision of discovery, it is respectfully submitted that a

dismissal without prejudice is the least drastic remedy that preserves the ability of the U.S.

Attorney’s Office to proceed with prosecution while ensuring that the FDA discharges its

statutorily-mandated duty. To hold otherwise would risk conveying the impression to litigants

thrown out of court for failing to abide by agency regulations or statutory procedure that the

laws enacted by Congress really do not apply to the executive agencies charged with enforcing

them.

        2.     The FDA has Violated Dr. Poet’s Right to Due Process and Brady by
               Intimidating Witnesses and Failing to Provide Exculpatory Information

               a.      Intimidation of Witnesses

        It is without question that before the investigation of Dr. Poet ever began, the FDA knew

the symptoms of botulism and the time-frame (6 hours to 10 days) within which they occur.

Hughes Cert., at ¶¶ 10 and 12, Exhibits 9 (CDC Manual) and 11 (FDA Medical Review).

Indeed, the FDA has noted that once cranial (head) nerves are involved, there is an onset of

symptomatic descending paralysis that can only be halted through the administration of equine

antitoxin. Id. at ¶ 12, Exhibit 11 (FDA Medical Review, at 11). Hence, it is outrageous that the

FDA waited until after Dr. Poet rejected the U.S. Attorney’s plea offer – nearly 20 months after

any of TRI’s product was possessed by Dr. Poet – to contact many of Dr. Poet’s patients to

discuss their “exposure” to an unapproved form of Botulinum Toxin Type A. Id. at ¶ 49, Exhibit

48. As stated previously, the identities of these patients were well-known to the FDA over a year




                                                50
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 58 of 69 PageID: 722




prior to the letter. To increase the patient’s level of fear, each received a subsequent letter

informing them that they might be a “victim” of Dr. Poet’s fraud. Id. at ¶ 50, Exhibit 49.

         The right of the FDA to interview witnesses in preparation for prosecution is not

questioned. However, the method by which they sought to encourage their assistance – by

frightening them into believing that they had been sickened as a result of a fraud – demonstrates

the FDA investigator’s intent to taint potential defense witnesses by unfairly playing upon their

fears. No where is this more evident than S/A Hess’ false statements to witnesses indicating that

the same product used by Dr. Poet caused four people in Florida to become paralyzed. O’Brian

Cert. at ¶ 4; Blankenbuehler Cert., at ¶ 4; Buterick Cert., at ¶ 4; Spagnola Cert., at ¶ 3.9 As stated

previously, the FDA and the Government knew, as early as December 23, 2004, that TRI’s

product was not involved in the four Florida botulism cases.                          Id., at ¶ 42, Exhibit 41

(Government Brief, at page 7, n.6).

         At least two witnesses have been adversely impacted by S/A Hess’ improper tactics.

Patient Joan Hall, based on information she obtained from S/A Hess, believes that she contracted

botulism from Dr. Poet, and she has refused to submit to any interview with the Defense. Id. at ¶

54, Exhibit 53 (notes of Joan Hall conversation). Further, S/A Hess impacted her testimony so

greatly that she now wishes “ill luck” upon Dr. Poet. Id. at ¶ 55, Exhibit 54. Additionally,

patient Theresa McCormick was so frightened by S/A Hess’ tactics that she refused to sign a

certification confirming her account of her interview with S/A Hess and indicated that she did

not desire to testify. Blankenbuehler Cert., at ¶ 6. To date, numerous patients have failed to

return the Defense’s calls requesting an interview, indicating that S/A Hess’ conduct may have a

broader impact than just a few patients.


9
  It is also quite troublesome that FDA S/A Hess’ interview reports fail to detail his statements to the witnesses and
that the content of the reports appear to differ substantially from the witnesses’ accounts of the interviews.


                                                          51
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 59 of 69 PageID: 723




       It is long-standing law that a Government agent’s “intimidation that dissuades a potential

defense witness from testifying for the defense can, under certain circumstances, violate a

defendant’s right to present a defense.” United States v. Williams, 205 F.3d 23, 29 (2nd Cir.

2000); Webb v. Texas, 409 U.S. 95, 97-98 (holding that intimidation of witness “drove that

witness off the stand, and thus deprived the petitioner of due process of law under the Fourteenth

Amendment.”); United States v. Golding, 168 F.3d 700 (4th Cir. 1999); United States v. Vavages,

151 F.3d 1185, 1190-92 (9th Cir. 1998); United States v. Heller, 830 F.2d 150, 153-54 (11th Cir.

1987); United States v. Morrison, 535 F.2d 223 (3rd Cir. 1976) (dismissing conviction because of

government witness intimidation); Government of the VI v. Smith, 615 F.2d 964 (3rd Cir. 1980).

As such, FDA S/A Hess’ conduct of lying and intimidating witnesses to affect their testimony

was “a misuse of investigative techniques legitimately directed at exploring whether witness

testimony is truthful and complete and whether the government has acquired all incriminating

evidence.” Moore v. Valder, 65 F.3d 189, 194 (D.C. Cir. 1996). Moreover, in the Third Circuit,

the “good faith” of the Government agent in engaging in intimidating conduct is irrelevant to the

issue whether the agent’s conduct resulted in a due process violation to the defendant. Morrison,

535 F.2d at 227.

       Accordingly, it is respectfully submitted that the conduct here violates the concepts of

“fundamental fairness, shocking to the universal sense of justice.” United States v. Russell, 411

U.S. 423, 431-32 (1973). Alone, it appears to have tainted Dr. Poet’s ability to muster witnesses

to aid in his defense, thus rendering any trial suspect. The FDA agent’s further action of

withholding exculpatory materials from the defense while burying the defense in discovery,

however, only serves to magnify the impact and the intent of that wrongful conduct.




                                               52
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 60 of 69 PageID: 724




                 b.       The Brady Violations

        As the Hughes Certification demonstrates, the Government unquestionably failed to

provide the Defense with exculpatory information. Hughes Cert., at ¶¶ 7, 11, 39, 40-43, 49-53,

55-57, 68-73. As the Court is aware, a prosecutor is forbidden from suppressing “evidence

favorable to an accused upon request . . . where the evidence is material either to guilt or

punishment, irrespective of the good faith or the bad faith of the prosecutor.” Brady v.

Maryland, 373 U.S. 83, 87 (1963) (emphasis added).                   In order to establish a due process

violation, “a defendant must show that: (1) evidence was suppressed; (2) the suppressed evidence

was favorable to the defense; and (3) the suppressed evidence was material to either guilt or

punishment.” United States v. Pelullo, 399 F.3d 197, 209 (3rd. Cir. 2005) (quoting United States

v. Dixon, 132 F.3d 192, 199 (5th Cir. 1997)).

        In the instant case, Dr. Poet has a defense that he purchased TRI’s BoNT/A in “good

faith” of the representations made by Dr. Chad Livdahl and his employees. United States v.

Gross, 961 F.2d 1097, 1103 (3rd Cir. 1992) (noting that a defendant’s “good faith” conduct is

inconsistent with knowing and willful conduct).10 The Government had the transcript of the

grand jury testimony of a former TRI employee in which she detailed how Chad Livdahl

attempted to deceive physicians inquiring about and purchasing his BoNT/A. Hughes Cert., at ¶

39, Exhibit 38. Further, it had a transcript of a tape-recorded conversation (and the tape itself) in

which Livdahl subsequently attempted to discuss this employee’s testimony. Id. at ¶ 68, Exhibit

67.   These items tend to show Dr. Chad Livdahl’s intent to defraud the physicians into

purchasing TRI’s BoNT/A, which includes Dr. Poet. These materials, along with numerous


10
  The FDA and the Government are well aware of this because numerous other physicians told the FDA about Dr.
Chad Livdahl’s misrepresentations to them to entice them to purchase TRI’s BoNT/A along with his explanations
about the warnings. Hughes Cert., ¶¶ 2-6, Exhibits 1-5. Exhibits 1-4 were included in the Government’s third round
of discovery, Exhibit 5 was not.


                                                       53
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 61 of 69 PageID: 725




other exculpatory items, were provided to another physician charged with the same offenses as

Dr. Poet because they contained exculpatory information, but they were not provided here.

         Moreover, FDA S/A Hess’ Memorandums of Interview clearly contain exculpatory

information in that patients indicated that they did not feel defrauded, that they saw no problem

with utilizing a non-FDA approved BoNT/A, and that they had good results from their

treatments with Dr. Poet. Hughes Cert., at ¶¶ 50-53 and 69-73, Exhibits 49-52 and 68 – 72.

Given the fact that the Government concedes that many patients received Allergan, Inc.’s

BOTOX® from Dr. Poet, Indictment, at ¶ 13, it is certainly exculpatory evidence if a patient was

satisfied by the treatment that he or she sought from Dr. Poet.11 Further, as the Certifications of

employees Toth and Gifford indicate, both testified in the grand jury consistent with their prior

interviews with the Government.              Given the fact that these interviews themselves contain

exculpatory information, the Government’s failure to provide these transcripts is yet another

violation.

         Perhaps what is most troubling is the fact that the Government first insisted that there was

no additional exculpatory evidence, and then, through FDA S/A Hess, provided several

thousands of pages of information containing some exculpatory but mostly irrelevant

information. Id. at ¶¶ 58 – 67, Exhibits 57 -66. This conduct is compounded in light of the fact

that approximately 37 of FDA S/A Hess’ interview reports were produced in another

prosecution as exculpatory evidence, but not in this case. This circumstance is no different

than those in Banks v. Dretke, 540 U.S. 668, 692 (2004) and Strickler v. Greene, 527 U.S. 263,

276, 282 (1999), where the Supreme Court found due process violations when the prosecutions

in each of these cases represented to the defense that they had provided all exculpatory materials,

11
   In this regard, Paragraph 13 of the Indictment simply does not make sense. In essence, the Government is
alleging that it was part of Dr. Poet’s “scheme and artifice to defraud” to not defraud patients by giving them
Allergan, Inc.’s product.


                                                          54
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 62 of 69 PageID: 726




knowing that the files made available to the defense did not contain highly relevant impeachment

information.

         There are only two possibilities: either all of FDA S/A Hess’ interview reports are

exculpatory evidence and hence required to be produced in the instant case, or the Government

has engaged in willful discovery misconduct by producing thousands of pages of irrelevant

documents, containing intermittent exculpatory materials, in an effort to hamper the defense’s

ability to prepare its defense.12 The Government cannot have it both ways.

                  c.       Impact Upon this Case

         It is respectfully submitted that the Government agent’s conduct in this case, given the

totality of the circumstances, is so pervasive and outrageous that it violates all fundamental

concepts of fair play and the impartial administration of justice warranting a dismissal with

prejudice. See United States v. Twigg, 588 F.2d 373 (3rd Cir. 1978). This is the Defense’s

primary request. It is conceded, however, that the Third Circuit has cautioned district courts to

proceed with extreme restraint in this regard. United States v. Voight, 89 F.3d 1050, 1064-66

(3rd Cir. 1996). Accordingly, it is respectfully submitted that, given the FDA’s violation of Dr.

Poet’s due process rights by: 1) failing to provide an administrative hearing when required to do

so by law; 2) engaging in the intimidation of witnesses designed to deny the defense their

testimony; and 3) engaging in clear discovery abuses resulting in Brady violations, the Court




12
   In this regard, we are mindful of, and appreciate, the Prosecution’s desire to avoid Brady violations by producing
more information than might otherwise be required. But here, where so many clearly irrelevant documents were
produced while so many clearly exculpatory documents were withheld, the FDA agent’s efforts in gathering and
producing the Government’s discovery must necessarily give the Court pause. In this regard, the Government, and
its agents, should be held to no less stringent a standard as any other litigant engaged in civil litigation before this
Court. Tarlton v. Cumberland Co. Correctional Facility, 192 F.R.D. 165 (D. NJ. 2000) (Judge Kugler imposing
sanctions for failure to provide relevant discovery); see 18 U.S.C. 3006A, Pub. L. 105-119, Title VI, § 617 (Nov. 26,
1997) (Hyde Amendment allowing award of attorney’s fees to criminal defendants where Government position
found to be “vexations, frivolous or in bad faith”.).


                                                          55
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 63 of 69 PageID: 727




would be well within its discretion to require the Government to start anew by dismissing the

Indictment without prejudice.

F.     POINT 5: The Defense is Entitled to an Order Directing the FDA to Review all
       of the Evidence in all Related FDA Cases Nationwide Involving TRI’s BoNT/A
       and to Produce All Exculpatory Documents, including Grand Jury Transcripts
       and Witness Interviews in the Instant Case

       If the Court is disinclined to dismiss the Indictment based upon the FDA’s conduct, the

Defense is nonetheless entitled to exculpatory information that the Government has heretofore

refused to produce. While the Defense has obtained some of this information through other

means, it does not relieve the Government of its responsibility to diligently search for

exculpatory information and to provide it to the defense. Given the fact that the defense has

already clearly demonstrated that the Government has exculpatory information that it previously

claimed not to have, it is respectfully submitted that the Court must order the Government to

conduct a search of all related TRI prosecutions and provide exculpatory materials to the

defense.

       This information must necessarily include any Grand Jury testimony, in the instant case

and in others, which tends to corroborate Dr. Poet’s “good faith,” Dr. Chad Livdahl’s deceptive

practices, and any patient’s satisfaction with the results from their treatment with Dr. Poet.

Additionally, it is respectfully submitted that as FDA S/A Hess’ Memorandum’s of Interview

have already been deemed exculpatory by at least one other Justice Department Prosecutor, all of

Memorandums of Interview should be produced. This is especially important as it is apparent

that many patients indicated to the FDA that they had “no adverse affects” or were pleased with

their treatment with Dr. Poet. Accordingly, these interviews – especially those where the patient

reported “no adverse affects” – tend to show that the patient was not defrauded.




                                               56
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 64 of 69 PageID: 728




G.     POINT 6: The Defense is Entitled to the Grand Jury Transcripts, or in the
       Alternative, to an In-Camera Review to Determine whether the Government
       Met its Obligations

       As suggested by the Certifications of Laurie Toth and Heather Gifford, at least some of

the Grand Jury Transcripts contain exculpatory information to which the defense is entitled.

Moreover, the Defense has made a prima facie showing of misconduct such that it warrants, at

the very least, an in-camera review of the Grand Jury Transcripts in this case to determine

whether FDA S/A Hess made any misrepresentations to the Grand Jury concerning the four

botulism cases in Florida. Furthermore, as the Defense has shown, the Government was well

aware of Dr. Chad Livdahl’s deceptive conduct through its documentary evidence and its

interviews with other physicians, long before any presentment was made to a Grand Jury in

this case.   This conduct is exculpatory evidence, and under N.J. R. Prof. C. 3.8(d), the

prosecution is required to present exculpatory evidence to the grand jury. Under the “McDade

Amendment,” 28 U.S.C. § 530B, the Government is required to abide by the New Jersey

Supreme Court’s Rules of Professional Conduct.

       It is respectfully submitted that the Defense has satisfied its burden and particularlized

need under Fed. R. Crim. P. 6(e)(2)(E)(ii). Accordingly, we request that the Court order the

Government to produce these transcripts, or in the alternative, to review these transcripts, in

camera, to determine whether the Government’s obligations have been satisfied.

H.     POINT 7: The Defense is Entitled to Supression of any Patient-Witness Testifying
       For the Government and Inteviewed by S/A Hess, or in the Alternative, Additional
       Deposition and Document Discovery Under Fed. R. Crim. P. 15 and 17

       It is respectfully submitted that any patient-witness testifying for the Government who

had been interviewed by FDA S/A Hess has necessarily been tainted and should therefore be

barred from testifying. This is especially so since apparently FDA S/A Hess’ conduct has




                                               57
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 65 of 69 PageID: 729




prejudiced at least two witnesses to such a degree that one believes that Dr. Poet infected her

with botulism and the other refuses to testify for the defense. Suppressing this evidence, in lieu

of dismissing the indictment, might be a proper remedy.

       In the alternative, however, it is respectfully submitted that, in addition to the Memoranda

of Interview, the Government should provide a list of all patients to whom the FDA sent its “you

might have been exposed” letter. In addition, as at least one patient now claims to have suffered

disease as a result of her treatment with Dr. Poet, the Defense is entitled under Fed. R. Crim. P.

15 and 17 to depose any witness claiming injury and to require that witness – and their physician

– to provide documents, pretrial, concerning their condition. The rationale behind this request is

straightforward: if the Government is going to allege at trial that any patient was harmed from

Dr. Poet’s use of the TRI BoNT/A, then Dr. Poet must be given the opportunity to examine

that patient’s medical complaints before trial, and if necessary, present expert witness

testimony to negate causation. No patient who believes that Dr. Poet has caused harm will

voluntarily submit to a defense interview, particularly if their feelings have been influenced in a

manner consistent with others interviewed by FDA S/A Hess. This information simply cannot be

obtained prior to trial, and it is necessary for Dr. Poet to formulate any defense. To hold

otherwise will necessarily result in an unfair surprise at trial and Dr. Poet’s corresponding

inability to refute any claims.

I.     POINT 8: The Court Should Allow the Defense to Issue Subpoenas Under Fed. R.
       Crim. P. 17 for Certain Documents and Other Materials

       As outlined above, the Defense has knowledge that at least one third party has

information directly impacting on the issues in this case. Because our intended experts require

this material, which the Defense must produce to the Government pretrial, we respectfully

request that the Court permit the Defense to issue a Rule 17 subpoena to Klein Becker, Inc. for



                                                58
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 66 of 69 PageID: 730




the expert reports, and backup documentation, of Professors Kamin and Sturken. None of these

materials can be obtained under Rule 16, and the Defense has demonstrated its need for these

items pretrial.

        In addition, the FDA’s interview reports have revealed that List Laboratories, Inc.

possesses certain information relating to the BoNT/A it sold to Dr. Chad Livdahl, who in turn

sold it to Dr. Poet. Hughes Cert., at ¶¶ 37 and 38, Exhibits 36 and 37. As there appears to be an

extreme variance in the FDA’s analyses of various samples of the TRI BoNT/A, the Defense

requires certain documentation from List Laboratories, Inc. to determine whether the Defense

will object to the Government’s use of its scientific evidence. None of these items have been

produced to the Defense by the Government under Rule 16 (indeed, we do not even know if the

Government has them). Having demonstrated a need for this evidence pretrial, it is respectfully

submitted that the Court should permit a Rule 17 subpoena to issue to List Laboratories, Inc.

        Finally, it is respectfully submitted that Allergan, Inc. has information relating to its

efforts to produce a new BoNT/A product nearly identical to that of TRI. Additionally, the

interview reports produced by the Government appear to suggest that there has been extensive

contact between representatives of the Government and Allergan, Inc. pertaining to the various

TRI prosecutions. In order to permit Dr. Poet to prepare his Defense, pretrial, it is respectfully

submitted that the Court permit Dr. Poet to issue a Rule 17 subpoena to Allergan, Inc. for

information that is necessary and cannot be obtained under Rule 16.

J.      POINT 9: The Court Should Permit Certain Depositions Under Fed. R. Crim. P. 15

        The Defense’s investigation has revealed that there are certain witnesses, who may have

exculpatory information, who are located in the western portion of the United States and have

refused, or may refuse, to testify because of the hardship that travel will place upon them. These




                                               59
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 67 of 69 PageID: 731




witnesses include former TRI employees as well as several physicians, whose patients’ demands

require that they not travel far from their practice. This circumstance is complicated by the fact

that their testimony may be required in more than one criminal trial concerning Dr. Chad

Livdahl’s sale of TRI’s BoNT/A to physicians.

       Accordingly, it is respectfully requested that, in the interest of judicial efficiency and the

fair administration of justice, the Court consider coordinating Rule 17 subpoenas of these

witnesses with other district courts where cases identical to the instant case are pending. In such

a manner, the Defense will not be denied its witnesses, and the Government will suffer no

prejudice.

K.     POINT 10: The Defendant is Entitled to a Bill of Particulars

       The Indictment does not specify whether any particular patient was a victim of Dr. Poet’s

conduct, and as already stated, the FDA’s interview reports indicate that the vast majority of Dr.

Poet’s patients were satisfied with the treatments that they received from Dr. Poet. Given the

fact that the Government concedes that at least some patients were not defrauded because they

received Allergan, Inc.’s BOTOX®, it is respectfully submitted that the defense is entitled to at

least some indication as to which of Dr. Poet’s patients the Government believes were defrauded

by having received TRI’s BoNT/A particularly since not all patients received the FDA’s and the

US Attorney letters. In addition, it is necessary to know which of Dr. Poet’s patient’s believe

they were victims, particularly after having received notifications from both the FDA and the

U.S. Attorney’s Office informing them that they were victims.          As such, it is respectfully

submitted that the Defense is entitled to know which of Dr. Poet’s patients responded to the

Government’s and the FDA’s inquiries.




                                                60
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 68 of 69 PageID: 732




L.     POINT 11: The Indictment Should be Amended to Refer to Allergan, Inc.’s
       Accurate Claimed Mark: BOTOX® Cosmetic

       The Indictment inconsistently refers to Allergan, Inc.’s product as Botox® and Botox®

Cosmetic interchangeably. This is simply wrong. BOTOX® is Allergan, Inc.’s trademark

registered with the U.S. PTO. Hughes Cert., at ¶¶ 34 and 35, Exhibits 33 and 34. This is also

the assigned name of the drug approved by the FDA for the treatment of certain eye and cranial

dystonias.     BOTOX® COSMETIC is the name of the drug approved by the FDA for the

treatment of certain forehead wrinkles. Id. at ¶ 32, Exhibit 31. Although BOTOX® is, in every

chemical and biological sense, identical to BOTOX® COSMETIC, the FDA has mandated that

Allergan, Inc. label its product differently according to its intended use. Hence, in accordance

with Fed. R. Crim. P. 7(e), paragraphs 2(e) and (f), 13, 14, and 18 through 20 of Counts One

through Thirteen, and paragraph 2 of Count Fourteen must be amended as follows:

       Counts One through Thirteen

       2(d):    Botox® - change to BOTOX®
       2(e):    Botox® - change to BOTOX®
                Botox® Cosmetic – change to BOTOX® COSMETIC
       13:      Botox® Cosmetic – change to BOTOX® COSMETIC
       14:      Botox® - change to BOTOX® COSMETIC
       18:      Botox® - change to BOTOX® COSMETIC
       19:      Botox® - change to BOTOX® COSMETIC
       20:      Botox® - change to BOTOX® COSMETIC

       Count Fourteen

       2:       Botox® and Botox® Cosmetic – change to BOTOX® COSMETIC

       These amendments will reflect the accurate and permitted use of Allergan, Inc.’s

BoNT/A as mandated by the FDA. Any other use would be improper.




                                              61
Case 3:06-cr-00643-AET Document 16-1 Filed 01/16/07 Page 69 of 69 PageID: 733




M.      POINT 12: The Court Should Designate this Case as a Complex Case Under the
        Speedy Trial Act to Permit the Parties to Engage in Additional Discovery and
        Investigation

         As set forth above, both the Government and the Defense have significant additional

work to accomplish in order to properly prepare for trial I the instant case. The Government’s

production of additional discovery will necessarily require additional investigation by the

Defense, and the Defense’s experts, when retained, will require time to review the materials that

it is hoped the Court will order produced. Accordingly, the Defense respectfully requests that

this Court should designate this case as a “complex case” under 18 U.S.C. § 3161(h)(8)(A) and

(B)(ii) and exclude additional time under the Speedy Trial Act.

                                           CONCLUSION

         For the reasons set forth above, it is respectfully submitted that the Court grant Dr. Albert

Poet the relief he seeks, principally, dismissal of the Indictment, or in the alternative, the interim

pretrial remedies that will ensure a fair and just trial.


                                                Respectfully submitted,
                                                COOPER LEVENSON APRIL
                                                NIEDELMAN & WAGENHEIM, P.A.


Dated:_1/16/07____                              By: /s William J. Hughes, Jr. (WH-1924)
                                                       William J. Hughes, Jr.
                                                       Counsel to Dr. Albert Poet

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                                                   62
